Case 8-18-76198-ast

'-._'§il'rin'i_n:s inrormauo `*

mentor 1 Mahmut

DOC 17 Filed 10/22/18

 

Firsl Nome

Debior 2

last blame

 

{S;)ouse, if illing) rim rome nude rome

United Sia'les Bankruplcy Court for lhe: Easiern Djstrict of
8»18»76198»ast

Case number

test blame

New Yori<

 

 

Officia| Form lOSAIB

 

 

Schedule AIB: Property

Eiit€red 10/22/18 18251:46

E&'check er this is an
amended filing

12!15

 

ln each eategory, separately list and describe items. Llst an asset oniy once. if an asset fits in more than one category, list the asset in the
category where you think lt flts best, Be as complete and accurate as possible if two married people are filing together, both are equally
responsible for supplying correct information it more space is needed, attach a separate sheet to this torm_ On the top of any additional pages,
write your name and ease number fit known). Answer every question

 

Desoribe anh Resldenco, Bullding, Land, or Other Real Estate You Own or Have an interest in

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or simltar property?

L`,J No. on to Pan 2.
g Yes. Where is the property?

1346 Plne Aores Blvd.

1.1. ..
Sireet address if available. or other description

 

 

What is the property? Check alithat aopiy.
m Single~fami|y home

i;] Dupiox or muiti-onlt building

g Condominiurn or cooperative

m Manufaclured or mobi§e home

 

 

 

Ef you own or have more than one, list here:

1,2.

 

Slreet address, if availeble, or other description

 

City Stale Z|P Code

 

doesn

 

Oil“lcial Form tOBA/B

ill tend
Bayshore NY .1 1706 g investment property
Ci¥v see zlP code T""Esha“i
m Other
Who has an interest in the property? Chea§< one
Suffoik E;] easter 1 only
Coenty E:] Dei)tor 2 only

a Dethor 1 and Del)tor 2 only
§ Al least one of the debtors and another

Do not deduct secured claims oroxemptions. Put
the amount of any secured otaims on Schedul'e D:
Crecir‘tors Who Have Claims Secured by Pmperiy.

Current value of the Current value of the
entire property? portion you own?

$ 359,287.00 $ 153,861.17

 

Describe the nature of your ownership
interest (such as fee simpie, tenancy by
the entireties, or a fife estate), if known.

 

a Cheok it this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification numbers

 

What is the property? Check all that appiy.
m Sing|e-family home

Q oepiex or mulci~ur;ii building

il Condominlum or cooperative

13 Manufactureci or mobile home

iii rand

13 investment property

13 Timeshare

at Other .

Who has an interest ln the property? Check one
g Deblorl only

13 DebiorZ only

§ Debtor 1 and Deblor 2 only

ft At least one of the debtors and another

on not deduct secured ciairns orexemptions. Put
the amount of any secured claims on Scheo’uie D:
Crediior_s Who Havo Ciaims Sec_u_red by Properly. `

Current value of the Current value of the

entire property? portion you own?
$ 5
Describe the nature of your ownership

interest (such as fee stmple, tenancy by
the entireties, or a life estete), if known.

 

[J check ir this is community property
(see tnstruotions)

Cther information you wish to add about this item, such as local

 

property identification number:

Scheduie AIB: Property

page ‘i

 

Case 8-18-76198-ast

Dobtort Mahmut

DOC 17 Filed 10/22/18 Entered 10/22/18 18251:46

Yi!an

 

Fir$l Nomo M%ddis Namo

1.3. .
Stroet address, if availabto, or other description

 

Las!Nomo

 

 

Clty Stalc ZlP Code

 

County

Describe Your Vehiclos

 

What is the proporty? Chooi< alt that app§y.
53 Sing|o-family home

C] Dop§ex or mutti-unit buitding

l.:l Condominiurn or cooperative

[;] Manufacturod or mobite home

m Lar:d

a investment property

l;l `i`imoshare

Ll} other

 

Who has an interest in the proporty? Check one.
m Dobtor t only

[;l Debtor 2 only

l:] [}obtort and DebtorZ only

[;] At §oast one of the debtors and another

Caso number tommy 8”18"76_1_9_8”8_3t

 

Do not deduct secured claims or exemptions Pot
the amount of any secured claims on Schedulo D:

Cradftors Who Ha_vo Ciaims Securoo‘ by Property.

Curront value ot the Curront va!uc of the
entire proporty? portion you own?

$ $
Dcscriho the nature of your ownership

interest {such as fee simp|e, tenancy by
the onttrotias, or a iit'e estote), if known

 

a Choclc it this is community property
(soo instructions)

Othor information you wish to add about this item, such as focal

property identification number:

 

2, Actd the doiiar value of the portion you own for ali of your entries from Part 1, incfucting any entries for pages
you have attached for Fart 1. Wr§te that number hera. ........... . ............ . .............. . .................. . ...... . ................. '}

 

 

$ 7 153,86’1.17

 

 

 

m No

fill Yos

3.t. Mako'. fgt;qW
wet M
Year: 2001

Approximato mileago: 120,000

Othor information

if you own or have marathon one, describe horo:

3_2, Make: §MC
Mocie|:
Yoar: 1989

Approximato mileago.' lz_O_'YOmw

 

 

 

Oinciai Forrn 106A/B

3. Cars, vans, trucks, tractors, sport utiflty vehiclco, motorcycles

Who has an interest in the proporty? Chock ono.
ga Dobtor 1 only

m Del)tor 2 only

ill oeotor 1 and oebmr 2 only

l:,.l At least one of the debtors and another

U Check if this ls community property (sec
instructions)

Who has an interest tn the property? Chock ona.
m E)obior 1 only

m Dobtor 2 only

m Dobtor1 and Debtor 2 only

8 Ai least one of tho dobto¥s and another

33 Chock if this is community property (see
lnstructions)

Schedute AIB: Proporty

Cro_dr'tom Who Have Cla.'ms Secured by Pmporfy

Do you own, lease, or have legai or equitable intercst tn any voh|c|os. whether they are registered or not? tno!udo any vehicles
you own that someone else drivos. if you lease a vehicle, also report it on Schodu!o G: Executory Contrac!s and Unoxpirod Leases.

Do not dedizot secured claims or exempl§ons, Pvl
the amount ot any secured claims on Schedule D:

 

Current vaiuc of the Current value of the
entire propeny? portion you own?

3 2,5()0.0{} $ 2,500‘00

 

Do not deduct secured claims or exomptions. Put
the amount o! any secured claims on Schedui'o D:

Creo'iiors Who Havo Cisims Secured by Property.

Current value of the Curroot value of the

 

entire property? portion you own?
3 1,500.00 $ _ t_,SOO.GO
page 2

 

 

 

 

 

Case 8-1'8-76198-ast

 

Who has an interest in the property? Check one.

oebtorr tallahme Yi|an
mm NHIT\$ Middls blame Last Neme
3.3. Make: Mercedes
Mgde!; Cll<320 m Debtor 1 only
Year: 2001 l;] Debtor 2 only
w C] Debtor ‘E and Debtor2 only
250,000

Approximate mileage

Other in§ormalion:

 

 

Meke:
Mor.iel:

Year:

3.4.

Approxirriate mileage:

ther information

 

g At least one of the debtors and another

m Check if this is community property (see
instructions)

Who has en interest in the property? Check one,

m Debtor 1 only

m Debtor2 only

[3 newer 1 and beezer 2 only

l;} At least one of the debtors and another

m Check if this ls community property (see
insiruotlons)

DOC 17 Filed 10/22/18 Entel’€d 10/22/18 18251246

Cese number armco 8"18’76'393“@St

 

Do not deduct secured claims or exemptions. Put
the amount ct any secured claims on Schedule D:
Credrlore Who Have Clelms Secured by Proper!y.

Current velue of the Current value of the

entire property? portion you ov\m?

$ 0.00 $ 0.00

 

Do not deduct secured claims or exemptions. put
the amount of any secured claims on Schedulo D.'

Creditors Who Hevo C!aims Secured by Prope,'iy

Current value of the Current vaiue ol‘ the

entire property? portion you own?

=4. Watez‘craft, a|rcraft, motor homes, A'i'Vs and other recreationa¥ vehicles, other vehicles, and accessories
g Examples: Boels, trailers, motors. personai Watercreitl lishing vesee|s, snowmobi|es, motorcycle accessories

m No
m Yes

Make:
Modei:

4.1.

Yea r;

Other information:

|f you own or have more than one. list here:

4_2. Makof
Model:

Vear;

 

 

 

 

Wno has en interest in the property? Check one.

L_..} Dei)torl only

3 Deb:orz only

l;} Dehtor 1 end Det>tor 2 only

m Ar least one of the debtors and another

C] Checic if this is community property (see
instructions)

Who has an inierest in the property? Check one.
a [)ebtor 1 only

` 13 Debtor 2 only

il Debtori and Debtor.'& only

Do not deduct secured claims or exemptions Put
the amount ot any secured claims on Scheduio D.'
Credr'iors Who Have Cfalms_ Secureo` by Property.

Current vatue of the Current vaiue of the

entire property? portion you own?

Do not deduct secured claims or exemplionc. Put
the amount ot any secured claims on S_chsdule D:

Creditom Who Heve Cfar‘ms_ Secured by Property

Current value of the Current value of the

 

 

- - . entire ro ert ? ortion ou own?
other mmrmanon' ij At Eeast one of the debtors and another v p y p y
a Check if this is community property (see $ $
instructions)
5. Ar£d the dollar value ofthe portion you own for aii of your entries from Pert 2, including any entries for pages $ 4|0()0.0{)
you have attached for Part 2. Write that number here 9 w*““rm""“'"

official Form 106AIB

Schedule AIB: Property

 

 

page 3

 

 

CaS€ 8-18-76198-&8'[ DOC 17 Filed 10/22/18 Entered 10/22/18 18251:46

 

ramon l\/lahmut Yilen ease number (,,,m,m) B~l 8_-76198-ast

First Nerns Middie Nama Laal Name

Doscribe Your Personal and Honsehold items

 

 

Do you own or have any legal or equitable interest in any of the following ltems?

Current value ct the

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

portion you own?
Do not deduct secured claims
or examplions.
6. Houseno|cl goods and furnishings
Examp)'es: Nla§or appliano¢=:sl furniture linens, china kitchenwere
m No ,m.h ............m..,._,_._W.".,...,.~_._W._W.`“..~-.¢,.,,~.....,~.,.~..,~,_,4..4..~.,.
il Yes. Describe,........ $ _ _ G.UO
?. Electronlcs
Examples: Televisions and radios; audio, video, stereo, and digital equipment corru)uter:~il printers, scanners; music
colleclions; electronic devices including ce!l phones, cameras. media players games
la No WW_., WW §
m ¥es. Describe .......... cegiphone l 5 300,()() 5
8. Collectihles of value
Exampfes: Antiques and ligurines; paintings, prints, or other ertwo:k; books, pictures or other art ob§ects;
stamp, coin, or baseball card collections; other coliections, memorabilia, collectibles
ga No _
l:i Yes. Describe.......... § 5 0.0G
9. Hqulprnent for sports and hobb|es
Examples: Sports. r.iholographicl exercise, and other hobby equipment bicycles, pool tab!es, golf c!ubs, skis; canoes
and kayaks; carpentry tools; musical instruments
w No ,,.~,,,,,.,…,.W.FW..,.H,_…_M o m … 7
[.:] Yes. Describe .......... l $ O_{)[) 5
10.Firearms
Examplas: Pistois, rilles, shotguns, ammunition. and related equipment
@ No .
13 Yes. Describe .......... l l $
11. crashes
c Examplos: Everyday clothes, furs, tealher coats, designer wear. shoes, accessories
n No l - . .
m YES. DBSCfibB..........§”Sfandard daily C|O§hes § $ 200.00
12. Jewelry
Examples: Everydayjewelry, costume jewelry, engagement rings, wedding rings, heirioom jewelry. watches, gems,
gold, silver '
[.;] Yes. Describe .......... § § $__
13. Non~farm animals
Examples: Dogs, cats, birds, horses
ga No . ,4 n - ,,W , _“
m \’es. Describe .......... $__
§ 14.Any other personal and household items you did not already list, including any health aids you did hot list
g No v ) , _
a Yes, Give specific 5
information .............
15` Add the dollar value of all of your entries from Parl'. 3, including any entries for pages you have attached $ 500_00
for Part 3. Write that number here '§
Oflic§at Form 106NB Schedule A!B: Property page 4

 

 

 

 

 

CaS€ 8-18-76198-&8'[ DOC 17 Filed 10/22/18 Entered 10/22/18 18251:46

centum Mahml~‘f Yiian case numbe, whom 8118-?6198~ast

Fimt blame Mlddie items test Nsma

 

Descrihe Your Financial Assets

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Do you own or have any legal or equitable lnterest ln any of the following? 511me Vatue cf the
' portion you own?
Do not deduct secured claims
or exemptionsl
16. Cash
Examples: Money you have in your wat|ei, in your home. ln a safe deposit box, end on hand when you die your petition
m No
m via eash: $ 1_30,00
1?. Deposiis of money
Examplas: Ciieci<ing, savings or other financial accounts; certificates of deposit shares in credit unions, brokerage houses.
and other similar institutions if you have multiple accounts with the same institution, list each.
[] No
w Yes institution name:
17_1_ Checkif]g account breachequ Federa| C{edit Union $ _ 120..00
1?.2, Checklng account $
rr.a. savings account Teachers federal Credit Union $ 8.00
17.4. Savings account: $
17.5. Certiflcates of deposit $
1?.6. Uther flnanclai account $
1?.?. Oiher financial account $
1?.8. Other financial account 3
1‘!,9, Other iinancial account §
18. Bonds, mutual tunds, or publicly traded stocks
Examples: Bond iunds, investment accounts with brokerage tirrns, money market accounts
m No
ij Yes institution or issuer name:
19. Nou~publiciy traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture
m No Name of entity: % of ownersiii;:):
l.:] Yos. Give specific 0% % $
information about ` ' Oo/ 4
them ° %
0
0 /0_ %

 

 

Official F-’orm mde Scnedute AIB: Property page 5

 

CaS€ 8-18-76198-&8'[ DOC 17 Filed 10/22/18 Entet’ed 10/22/18 18251:46

Dei)tori Mahmut wien Case number iii known 8“18“7.6198`35t

Finrt Narno Midoio Nerno test Narne

 

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negoiiabie instruments incincie personai checks, cashiers' checks promissory notes. and money orders.
Non~negoti'abie instruments are those you cannot transfer to someone by signing or dotivering them.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

E No
[;l Yes. Give specific iSStJHF namef
information about
them - - -s# $Wc
$
$ ____
21. Retirernent or pension accounts
Examples: interests in |RA, ERiSA, Keogh, 401(}<), 403{b), thrift savings accounts. or other pension or profit“sharing plans
m No
i.:l Yes. i_ist each
account separateiy( Type of account institution name:
401([<) or similar pian: $
Pension plan: $
inn $
Reitrement account $ __
Keogh: $.
Addit§onal account $
Additional account 5
22.Security deposits and prepayments
Your share of ali unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlordsl prepaid rent, public utiiities (eiectn'c, gas, water). teiecomrnunications
companiesl or others
m No
i;] Yos institution name or individual:
Electrtc: $
Gas: $
Heating oi|: 5
Security deposition rental unit: $
Pre_paid rent: $
Tetephone: $
Water: $
Renteci fumiiure: $
Other: $
23.Annuitles (A contract for a periodic payment of money to you, either for life or fora number of years)
w No
ij Yes issuer name and description:
$
$

 

Ofi`iciai Forrn 106A/B Scheduie A!B: Property page 6

 

CaS€ 8-18-76198-&8'[ DOC 17 Filed 10/22/18 Entet’ed 10/22/18 18251:46

Det)tor 1 Mahmut vi|an Case number tamm 8`18'76198"ast

FlrstNamo litiddie Name last Nome

 

 

24.interests in an education ERA, in an account in a qualified ABL.E program, or under a quaiified state tuition program
26 LJ.S.C. §§ 530(b}(1). 529A(b). and 529(t))(1).
m No
n Yes

institution name and description Separate|y file the records of any interests,tt U.S.C. § 521(<:):

 

 

 

25.Trusts, equitable or future interests in property iotherthan anything listed in line 1), and rights or powers
exercisable for your beneiit

alive

ij Yes. Give specific
information about them.... $

 

 

 

 

26. Patents, copyrightsl trademarksl trade secrets, and other intellectual property
Examples: internat domain names, websites, proceeds from royalties and licensing agreements

m NO mg . . . . _
[3 Yos. Give specific |_ ' z
$

 

information about them....

2?. t.icenses, franchises, and other general intangibles
Examples: Buitding permits. exciusive licenses, cooperative association holdings, liquor licenses professional licenses

No -`~:4~ 774---)--~~¢ » .,.. ..,. rs / ,.. .¢ .._..,4 ,_i ,`. `,.,,.,.,,.A, 4,., ,, .,. ,, ,, ,, A, , ,.,,,, ,, , , _,",,',,'_,, , vw ,, , , Y_m, ,,_”, _ w, ,
ill Yes. Give specific § l
$

 

information about them...,

 

Money or property owed to you? . Gurrent value of the

portion you own?
Do not deduct secured
ciath or exemptions

28,Tax refunds owed to you

mNo

s i. ,
ij \’es. Gtve specific information f
about lhem, inciuding whether
you aiready filed the returns State:
and the tax years .......................

 

Fedorat: $

Locai: $

 

29. Fan'iiiy support
Examples: F'ast due or lump sum alimony, spousal supportl chiici support. maintenancea divorce settlementl property settlement

UNo

E;l Yes. Give specific information.............
A|imony:

D§vorce settlement

$
$
Support: $
$
$

i

§

Meintenance:
Prcperty settlement

30. Other amounts someone owes you
Examples: Unpa§d wages, disaii)i|ity insurance paymentsl disability bene&ts, sick pay, vacation pay, workers‘ compensation
Sociai Securiiy benei"ite; unpaid loans you made to someone eise
m No

L_..l Yes. Give speciho information......i.......

 

Ofiicial Forrn tOBAi'B Scheduie AIB: Proporty page 7

 

CaS€ 8-18-76198-&8'[ DOC 17 Filed 10/22/18 Entei’ed 10/22/18 18251:46

Debtor§ Matht Yiian Case number {"WWHLS"'E 8'761 98"35\`.

F$i-sl Name Middie Neme Lasl Name

 

 

31. interests in insurance policies
Examplos: Health, cisabiiity, or life insurance.' hesith savings account (HSA); credit. homeowners cr renter’s insurance

Elivo

[3 Yes. Name tiie insurance company

_ _ _ Company namer Bonoficiary: Surreneer or refund value:
of each policy and list its value

 

 

 

32. Any interest in property that is due you from someone who has cited

ii you are the beneficiary of a living tnist. expect proceeds from a iiie` insurance poiicy, or are currently entitied to receive
property because someone has dieci.

m NO . ~_`,4....~ ., ,`-7 7 47 » 7` ~777/,77 7c 7 ,7, f ., ~... .» ,._. ........_.. ..._,., ,,., .. .,4. ,.4,, …_, , ,., . 777 7.~7.- 77 7 ,7777.7 a he _`,..~_» ¢. c .... h ,» .......

0 Yes. Give specific information............A § z
E $
§

33. Ciairns against third parties, whether or not you have filed a iawsult or made a demand for payment
Examp!es: Accidents, empioyrnent disputesl insurance ciaiins, or rights to sue

mNo

E] Yes. Describe each ciaim........‘.......,.... l 7 7 `r

 

 

34. Other contingent and unliquidated cteims of every nature, inciuc£ing counterclaims of tito debtor and rights
to set off claims

No ¢,.r.~.. ..., ...._. _~, .»~-_t._~......,
m Yes. Descrii;io each ciairn. l

 

lat _ _ a

35.Any financial assets you did not already list

g NO E_ v 7 ,. _u ,_

m Yes. Give specific information ............

 

 

 

36. Add the dollar value of all of your entries front Part 4, including any entries for pages you have attached
for Part 4. Wrtte that number here 9 SM

 

 

 

Describe Any Buslness-Relatei:£ Property You Own or Have an Interest iri. Ltst: any real estate in Part 1.

 

 

§ 37. Do you own or have any iegal or equitable interest in any business-related property?
ltd not co to ivan e.
m Yes. Go to line 38.

Corrent voice of the
portion you own?

Do not deduct secured claims
or exemptions

 

, 33.Accounts receivable or commissions you aiready earned

[;] Yes. Describe ....... l

 

 

 

39. Office equipment, turnisi\lngs, and supplies
Exempies: Business- related computers software inodems. printers, copiers. tax machinos, lugs telephones,desi<s. chairs, etectrcnic devices
m No umw M
l;l Yes. Describe.......§ n :$
y 4, ,W§

 

 

 

Oiiicial Fortn 106A/l3 Sci'iedule A!B: Propeity page 8

CaS€ 8-18-76198-&8'[ DOC 17 Filed 10/22/18 Entered 10/22/18 18251:46

Deizzor 1 Mahmut Yifan Case number¢ummwn}_a'18”761ga‘ast

Fim Neme Midd!e Narna LeslName

 

 

40. Mechinery, fixtures, equipment, suppiies you use in businees, and tools of your trade

ill NO _ _ _ _ _ __ _
l:f Yes. Descn'be.......l §§

 

41 . inventory
m Yes. Desczibe ....... §§

 

42.Inierests in partnerships orjolnt ventures

m No
m Yes. Descrihe.......

 

 

Neme of entiiy: % of ownership:
% 5wu
_ % $_
_ _% $

 

 

43. Customer |lsts, melting lists, or other compiiations
m No
m Yes. Do your lists include persona?!y identifiabfe information (as defined in ’l‘l U.S.C. § 101(41A))?

L_..I No
a Yes. Describe.

 

44.Any business~related property you did not aiready list

 

 

 

 

 

 

 

 

{;} No
m Yes. Give specific $
information .........
$
$
$
$
$
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $
for Part 5. erte that number here 9 ` ` W

 

 

 

Deserlhe Any Farm- and Commerclal Flshing-Related Property You Own or Have an laterest ln.
lf you own or have an interest in farmland, list it in Part 1.

 

 

§ 45. Do you own or have any legal or equitable lnterest in any farm- or commercial fishing-related property?

§ No. co to Pan 7.
[;l Yes. Go to line 47.

Current value of the
portion you own?

Do not deduct secured claims

 

or exemptions
7 47. Farm animals
Examples: Livestook, poultry, farm-raised fish
[;] No _
n Yes{ __ __ wm ,__ , _§
i
i________ l §

 

 

Ofiiciel Form 106A/B Schedele AIB: Property page 9

 

 

CaS€ 8-18-76198-&8'[ DOC 17 Filed 10/22/18 Entered 10/22/18 18251:46

Debtor 1 Mahmut Yilan Case number grimm 8“18"76198'35{

First blame Rf,idole Nomo Lesl Name

 

 

48.Crops»-~elther growing or harvested

l;]No

a Yes, Give specific
information............. 3

 

49.Farm and fishing equipment, impierrrents, machinery, fixtures, and tools cf trade

il No
m ves ,, W ____,_,W_ .......

 

 

 

50. Farm and fishing supplies, chemicals, and feed

la No
l;l Yes

 

51.Arly ferm- and commercial fishing-related property you did not already list
[3 No

l:l Yes. G§ve specific
informatioll............. $

 

 

 

52. Add the dollar value of ali of your entries from Pal't B, including any entries for pages you have attached
for Part 6. Write that number here 9

 

 

 

Describe All Property You Owrl or Have an interest in That ‘{ou Did Not List Above

 

 

53. Bo you have other property of any kind you did not already iiet?
' Exampies: $eason tickets. country club membership

EaNo

l:l Yes. Give specific
information

 

 

 

 

M.Add the dollar value of ali of your entries from Par=t 7`. Write that number here “9 5

 

List the Tota!s of Each Part of this Form

 

 

55.Part1: Total real estate, line 29 $M

 

 

 

56. Part 2: Total vehicles, line 5 $ 4'_000'00
57.Part 3: Total personal and household ltel'ns, line 15 $_ 500“00
58. Part 4: Tota¥ financial assets, fine 36 $ 258’00
59.Part 5: total business-related property, line 45 $ 0’00
60. Part 5: Totai farm~ and fishing-related property, iine 52 3 0'00
61. Part 7: 'i`otal other property not iisted, line 54 + $ 930
62.T0{al personal §§rt>[oel'tya Add lines 56 through 61. .................... $MHMHH_=¢'?SB_'OO Copy personal property total *} :+$ _ _ _4~758-00
ss_mal orall property on schedule we Add large 55 + line 62 .......................................................................................... $ 1__53'519»17

 

 

 

Officiai Form iOGA/B Schecfuie Al'B: Property page 10

 

CaS€ 8-18-76198-&8'[ DOC 17 Filed 10/22/18 Entered 10/22/18 18251:46

   

'

   

Yiian

 

 

Debior1 Mahmut .

Fi:st Narne Mkidlu alamo Leal Name
Deblor 2
(Spouso, if iiiing) Firsl Nalnu M§ddle Name Lasl blame

United Sieles Berlkruplcy Coult for the: E`aslern DiSlriCl Of NGW YOri<

ailme 8-18~76198-351 detectionan
( "°“’“} amended l”l|ing

 

 

Oificia_i Form 1060
Schedule C: The Property Y_ol_,l Claim as Exempt lens

Be as complete end accurate as possible lt two married people are l'l|ing together, both are equally responsible for supplying correct informationl

Using the property you listed on Scheduie A/£i: Property(Otlicial F-“orm 106A/l3) as your source, list the property that you claim as exempt if more
space is needed, li|i out and attach to this page as many copies of Pan‘ 2.' Ado'itr'onai Page as necessary On the top of any additional pages, write
your name and case number (lf known}.

 

Fol‘ each ltern of property you claim as exempt, you must specify tile amount of the exemption you c|a|m. Orle way of doing so ls to state a
specific dollar amount as exempt Alterrlatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory llmit. Some exemptions--such as those for health alds, rights to receive certain henefits, and tax-exempt
retirement funds_mey be unlimited in dollar amountl l-lowever, if you claim en exemption of1titl% of falr marilet value under a law that
limits tile exemption to a particular dollar amount and the value of the property is determined to exceed that amountl your exemption
would ice limited to tile applicable statutory amount

 

ldentify the Froperty you Clalm as Exempt

 

1. Wh|ch set of exemptions are you clalmlng? Check one onl‘y, even if your spouse is filing with you.

m You are claiming state and federal nonbankruptcy exemptionsl 11 U.S.C. § 522(b)(3)
ig You are claiming federal exemptions ll U.S.C. § 522{b){2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specltlc laws that allow exemption

 

 

 

Scheduie A/B that lists this property portion you own
Copy the value from ' Chack only one box foreech exemptionl
Scheduie A/B _
§§§;,imiom 1e4e nine/acres eng $153,861_17 g $ 11 U.S-C. § 522(¥>)(1)
Line from m 100% of fair market value, up to
SGhedu!e A/B'. 1.1 any applicable statutory limit
§§:§Hp§om age Exgeullign § 2,500.00 £;l $ 111 usc § 522(1:>)(2)
- m 100% of fair market value up lo
L f '
`l;|::e;':?; A/B: »3-‘!~ n n n any applicable statutory limit _”,_“___4___4__ n 1_11
(E{i;i:;ripiiun: GMC $ 1,500.00 E| 5 _ ii U.S.C. § 522(!3)(2)
Line from m 100% of fair market value, up to
Schedu,le A/B: 3 2 any applicable statutory limit

3. Are you claiming a homestead exemption of marathon $'E 60,375?
(Subjeot to adjustment on 4101/19 and every 3 years alter that for cases filed on or after the date of adjustment.)

Ml\lo

l;i Yes. Did you acquire the property covered by the exemption within 1,2?5 days before you filed this case?

E._.l No
m Yes

Oiiicial Form 1060 Scheduie C: 4lite Property You Claim as Exempt page 1 elk

Case 8-18-76198-ast

tJet)tor 1

Mahmut

DOC 17 Filed 10/22/18 Entei’ed 10/22/18 18251:46

Yilali

 

Flrst Nomo

  

M£ddio Namo

' occasional cage

Lost Nama

Casc number r.rknmvni 8“18"761 ga"ast

 

 

Brief description of tire property and line

on Schedule A/t? that lists this property

Brlef
description:
Line from
Sc_hco'ule A/B:
Brief
description:

Line from
Sche dole A/B:

Elrief
description:

Line from

Schedulo A/B.'

Brlel
description:

Line from
Sch_edu!e A/B:

Brief
description:

Line from
Schedule A/B:

Brtef
description:

Line from

Scheo'ule A/B:

Brlof
description:

Line from
_Schco'ule A/B.‘

Brief
description:

Line from
Schadulo A/B:

l?lrief
description:

Line from
Scheduie A/B:

Brief
description:

Line from
Scheduia A/B;

Brief
description:

Line from
Schedule A/B:

Briet
description:

Line from
Schedule A/B:

OF|‘lclal Form 1066

Nlecedes clk32€)
_3.3

 

Current voice of the
portion you own

Amount‘ of the exemption you claim

Check only one box for each exemption

Copy ti'ie value from
Schodule A/B
$ 0. 09 [] $

 

lH 100% affair market velue. up to
any applicable statutory limit

ills

l:] 100% of fair market value, up to
any applicable statutory limit

 

l;}$

l.:l 100% of fair market value. up to
any applicable statutory limit

 

ill 100% of fair market value, up to
any applicable statutory limit

 

al 100% of fair market value, up to
any applicable statutory limit

_.WMWW_,_____,_“ s ms
c_...w~,…%w s E§s
s fits

 

m tOO% of fair market value, up to
any appticablo statutory limit

fl}$

m tOO% affair market value, up to
any applicable statutory limit

f§l$.

E;l tOO% of fair market value, up to
any applicable statutory limit

 

l;l$

Cl il}t]% of fair market value, up to
any applicable statutory limit

ij $
l;l 100% affair market value, up to
any applicable statutory limit

ill s …
l:.l 100% of fair market value, up to
any applicable statutory limit

Cl$_

l:] 100% affair market value, up to
any applicable statutory limit

 

Schedu|e C: Tho Property You Claim as Exompt

Specitlc laws that allow exemption f

ll U.S.C. § 522(b)(2)

 

 

page _2___ of §§

 

CaS€ 8-18-76198-&8'[ DOC 17 Filed 10/22/18 Entet’ed 10/22/18 18251:46

 
      

comer 1 Mahmut

 

 

Yiian
Fiist Namo worth Nome Lsst Name
Debior 2 .
(Spouse, 'rf Eiing} Fiisi Name Mk$cile blame test Narm

United Siaics Bankrupicy Court lor that E&SEBH'\ DiSlriCl Of NEW YOrk

Case number 8"18“76'¥98'3$
mmwm Ei'cbec:< ii this is an
n amended t”l!ing

 

 

 

Officiai Form 1069
Schedule D: Creditors Who Have Ciaims Sec_ured by Property izns

Be as complete and accurate as possible it two married people are filing together, both are equally responsible for supplying correct
information if more space ts needed, copy the Addltionat Page, fii¥ lt out, number the entries, and attach it to this form. On the top of any
additionat pages, write your name and case number (Ef known).

 

1. Do any creditors have claims secured by your property?
[;l No. Check this box and submit this form to the court with your other si':heduiesl You have noth§ng else to report on this torm.
U Yes. Fin in an of me information oelow.

I.Est Ali Ser:l.rred Cialms

 

 

  
 
   

 

 

2. List all secured ciaims. if a creditor has more than one secured clalm. fist the creditor separately Am gm
for each claim_ if more than one creditor has a particular c§aim. tist the other creditors in Part 2.
As much as possibie, list the claims in alphabetical order according to the creditors name.

 

 

 

 

 

 

Bank Qf Am@rica Describe the property that secures the ciatm: $ 205»425~83 $ 359’287'0.0 $
109 ;\|Orih Tryon Street 1346 Pino Acres Blvd, Bayshore, NY
Number 81er .1._1 YOS_____ . ..

As of the date you fiie, the ciaim is: Chock all that apply.
g Coniingeni

 

 

Chal`l()lt@ NC 28202 § Un|iquidaqed
city State ziP code §§ Dispuwd
Wh° owes the debra shed one~ Nalt.lre of llen_ Check ali that appiy.
§ DBwGY 1 U“%Y g An agreement yes made (such as mortgage or secured
m Det)tc: 2 oniy car loan)
C] Det;to;t and Debio;» z only m Siaiutory lien (such as tax |ien, mechanics iion)
n At least one of the debtors and another C} dudgment lien from a lawsuit

[J Oiher (inclcding a right to oHset} _,
E} check ir this chem relates w a

community debt
Date debt was incurred Last4digits ot account numbari wgn H§H H§H

§

 

 

Describe the property that secures the ciaim: 5 $ $
creditorsnams " " " " " '

 

Ncml)er Szree\ j

As attire date you ftie, the ctaim is: Chec§< eli that appty.
3 Coniingeni
53 unliquidated

 

 

city state zit> code §§ Dispmed
who owes the deht? 39ng °"e* Nalure of lien. Check all that appiy.
m Deblol'l O"ly il Art agreement you made (such as mortgage or secured
[;] Debior 2 only car ioan)
l:_,l merging-1 and Damgr 2 only § Statutory iien (such as tax |§en. mechanics lien)
m Ai least one of the debtors and another g JUd§ment lien from 3 lawsuit

8 Oiher (im:foding a right to otiset)
L;l Citeck if this claim relates to a

community debt
Date_debt was incurred Last 4 digits ot account number W mw MH W

Add the dollar voice of your entries in Coiumn A on this page. Writo that number here: EM l

 

 

 

 

Officia! Forrn 1060 Schedu|e D: Creditors Who i-tave Ciaims Securecf by Propcrty page ’i ong

Case 8-18-76198-ast

Maitmuf

Dehtor 1

DOC 17 Filed 10/22/18 Entel’ed 10/22/18 18251:46

Yeian ease numbm.,mw} a_-i__e_~?eiae-ast

 

Flrst blame Mlddlo blame

Additionat Page

After listing any entries on this page, number them beginning with 2,3, followed

 

Lasl blame

 

 

 

 

 

 

 

 

 

 

Who owes the debt? Check one.

m Dei)lorl onlyl

m Del)tor 2 only

m Deblor‘l and Deblor 2 only

§ At least one ot the debtors and another

Cl check if this craim relates to a
Bommi.|hlfy debt

Date debt was incurred

_ by 2.4, and so forth.
Describe the property that secures the elaim: $ $ 3
Creditor's blame
Numbe! Slreet
As of the date you flie. the claim is: Check all that apply,
[:.] Conl§ogent
city slate 219 code Cl unliquidated
[.] Dispoied

Nature of lien Ciaeck all that apply.

n An agreemez'tt you made (suol'r as mortgage or secured
car loan)

m Stalutory E§en (suoh as tax |ien, mechanio's l|en)

[:3 Judgmont lien from a lawsuit

E] Omor (im;iuding a right lo offset) m

Last 4 digits of account number

 

.,__l

 

Credilor’s Namo

 

Numl)er Slreol

Describo the property that secures the claim: $ $ $

l

 

 

 

Ciiy Siafe ZlP Code
Who owes tile dobt? Check orie.

Deblorl only

Det)tor 2 only

Dei)tor 1 and Doblor 2 only

At least one of the debtors and another

ij [JEJGEI

Cheok if this claim relates to a
community debt

Date debt was incurred

As of the date you ille, the claim ls: Check eli that epply.
n Conl§ngenl

l;] unliquidated

m D§spoted

Nature of llert. Cheok all that apply.

l;] An agreement you made (such ss mortgage or secured
car loan)

m Sialulory sen (secit as tax |len, mechanics |'ien)

a Judgmeni lien from a ian/suit

Ei other (znc:uding a right m offsei)

Last 4 digits of account number …

 

.__l

Cfediloi’s Na'ii:o

Descrii)e the property that secures the ola|m: $

_WUH__ $

 

 

 

 

 

F€"t;r'ober Slreel

 

 

City Sl.ata Z£P Code

Who owes the debt? Chenk ono.

m Dei:ilo: t only

l;] Deblor 2 only

l:] Doblor 1 and Debtor 2 only

m At least one oi the debtors and another

§§ Chack if this claim relates to a
community debt

Date debt was incurred

 

, irwrlte.thatnumber here;__ __
Ofllc§al Form 1060

_Add the dollar value of your entries in Goiumn A on this page. Write that number here: s
¥ftl'tis is the last page of your form, add the dollar value totals from all pages.

Additional Page of Schedulo D: Credltors Who Have C|alms Securod by Pro;)orty

As of the date you f¥|e, the claim is: Ctteck all that appiy.

g Contingent

ij Unliqoldated

g l.`)isputed

Nalu;'o of llen. Checl< all that apply.

§§ Ari agreement you made (suoh as mortgage or secured
car loan)

C} Statutory lien (euoh as tax |§en, mechanics Ileri)

m Judgment lien from a lawsuit

U Othor (including a right to oilset) _

Last 4 digits of account number

 

15 205,425.83

 

 

 

page ?W Of 1

 

CaS€ 8-18-76198-38'[ DOC 17 Filed 10/22/18

arosz '

gagnon Nlahmut Yi|an
stt Haroe Mhtdle items l.aal items

 

Debtor 2 . .
(Spouse, if illing) rim lime users teams Lesi mma

 

United Slales Bani<ruptoy Courl for the: EBSi€rn Dl$ifi¢l Gi New Y<Jik
Caso number _B-'l 8-76198~35f

(|f known}

 

 

Oificiai Form 106Dec

 

Eni€red 10/22/18 18251:46

ill check ii this is an
amended filing

Deoiarat:ion About an individual Debtor’s Schedules ms

 

if two married people are filing together, both are equally responsible for supplying correct information

\'ou must file this form whenever you file bankruptcy schedules or amended schedulesl Mal<lrig a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20

years, Oi' both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

- Stgn Below

Did you pay or agree to pay someone who is NOT en attorney to help you fill out bankruptcy forms?

[QNO

m Yes. Name of person . Altach Benkruplcy Poli'lion Freparer's Noti`ce, Dsclaref_r'on, and
Slgnatuns (Otticlal Form 119}.

that they are true and corroct.

   

linder penalty of perjury, l declare that l have road the summary end schedules filed with this declaration and

 

 

4, .. -;' Signature 0! Dot)lor 2

Date
Mir§! DD 1 YYW

 

 

 

Olfic'ial Form 106{)eo Deolarat|on About an individual Debtor’s Scheduies

 

CaS€ 8-18-76198-38'[ DOC 17 Filed 10/22/18

  

_' mthls interrogation to identify your case:_' :_ _ :_'_. _ "

   

 

Yllan

1381 Narl\e

lliiehmul

Firsl Narne

Dei)lorl

    

 

Mld§lo Nama

     
  

  
 

Debior 2
(Spouse, if lillng} rimiirame

     
   

 

Middle Name test Name

 

  

U"if€d Sfafas Bankwi:)zcy cain mr ihe: sastein Disirici of uaw York
Case number 8"18"75198-3§

(|f known)

Ofiicial Form 'iOSE/l:

   

 

 
 

 

 

Schedule EIF: Creditors Wito Have Unsecured Claims

Ent€red 10/22/18 18251:46

M check inns is an
amended &llng

12!15

 

Be as complete and accurate as possible. Use Part ‘l for creditors with PRi{)Rli'Y claims and Psrt 2 for creditors with NONPRlORlTY claims.
l.lst tire other party to any executory contracts or unexpired leases that could result in a cla|m. Aiso list executory contracts on Schedui‘e
A/B: Property totflcla| Form 106AIB) and on Schcdule G: Execu'tory Confracts and Unexpired Leases (Orficial Forrn ‘ltltiG). Do not include any
creditors with partially secured claims that are listed in Schedule D: Credr‘tors Who Have Clar'ms Secured by Prcperty. if more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the ieft. Attaclr tire Continuation Page to this page. On the top of

any additional pages, write your name and ease number {if known).

m List Ail of Your FR|OR|T’Y Unsecured Ciaims

 

1. Do any creditors have priority unsecured claims against you?

§§ No. co to Pari 2.

a Yes.

 

 

 

 

 

 

2. Llst ali ct your priority unsecured claims. if a creditor has more than one priority unsecured claim. list tile creditor separately for each claim For
each claim |isted, identify what type of claim it is. lt a claim has both priority and nonprioriiy amounts list that claim here and show both priority and
nonpriority amounts As much as possible, list the claims in alphabetical order according to the creditors name. if you have more than two priority
unsecured claims, till out the Conlinualicn Page of Part 1, if more than one creditor holds a particular claim, list the other creditors in Part 3.

(i~‘or on explanation cf each type of claim, see the instructions for this form in the instruction booklet.)

 

 

 

 

Priorz'ty oreditor's Narno

 

Nurnbor Slreei

 

 

city ` ` sign necon

Who incurred the deht? Check cne.

l.:] Debtor 1 only

m Debtcr 2 only

l:] Deblorl and lJcblor 2 only

n Al least one of lhe debtors and anolher

ij Cl\eck if this claim ls fora community debt

ls the claim subject to olfset?
m No

 

OfFiciel Form 106ElF

fine __ __ __ __

Schedule EIF: Creditors Who Have i.lnsecured C|alms

2.1
- .. l.ast¢t digits of account number m ___ m w $ - $ 3
Piiority Gredilor's Namo
_ Witen was the debt lncurred?
Number Slreet
As of the date you ilia, the claim |s: Checlc all that apply.
city sure zia code 13 C°““"ge"t
Cl unirquidaied
Wlio incurred the debt? Check ono. g Dispufed
m Deblor ‘l only
m D€bior 2 G“|Y 'l'ype of PRIOR|TY unsecured claim:
§ mbm 1 and Debt°? 2 only g Domeslic support obligations
__ At least one of me dab{ors and another m Taxes and certain other debts you owe the government
m check if this dam is for a c°mmu"‘ty debt [:l Gieims for death or personal injury while you were
ls the claim subject to offset? i"f‘”“°med
ft geo l;] Oliier. Soocify mmu____F_W__
L:l Yes
2.2 l

Last 4 digits ofaccount number __ __,F_ HM we 5 $ _ _ _ $

 

When was the debt incurred?

As of the date you ille, the claim is: Clieck all that apoiy.
m Contingenl

L_,] unliquidated

m D§spoled

Type of PR|OR|T¥ unsecured claim:
a Dcrueslic support obligations
a Taxes and certain other debts you owe the government

ft Clairns for death or personal injury while you were
intoxicated

ill Oiher. specify

page 1 of “_H

 

 

Case 8-18-76198-ast
Mahmut

Debtor 1

DOC 17 Filed 10/22/18 Entered 10/22/18 18251:46

Yiian Cmw,,mm(;.,,¢m,,,,,,34a_-ro_nzo~o;~~.t

 

Fiis: lime malice Nnim case uan

  

 

‘lour PR|OR!`!‘Y Unsecured Ctalms - Goutlnuatlon Fage

 

After listing any entries on this page, number them beginning with 2_.3, fo!lowed by 2,4, and so forth,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Last4 digits of account number W _“W mm W 3 5 3
Priority Cred§tor's Name
Wben was the debt incurred?
léumher St;eet
As of the date you tilo, the claim is: Check all that apply.
13 Conlingent
city Stale ziP code 113 Unl§quldaled
13 Ulsputed
Who incurred the debt? Check one.
m Dobtori only Type of PREORlTY unsecured cla|m:
m namer 2 only §§ bonnech support obligations
l;] Debtor 1 and Debtor 2 duty
a Taxos and cenaln other debts you owe the government
l.;] At least one of the debtors and another . . .
a Claims for death or personal |njuryl while you were
m Chec!< l‘lr this cta|m ls for a community debt mtoxmated
' m Olher. Speclfy
is the clalrn subject to offset?
m No
[;] ‘/es
` ' . . . ___° Last 4 dlglts of account number W vw m ”_m $»_-.M 5 5- ~_
Pdority Credllor’s Name
Whori was the debt incurrod?
Numbnr Slmet
As of the date you flle, the clalm ls: Check all that app|y.
m Conti'ngont
city slate ziP code E;l Unliquidafed
m Dlspuled
Who lncurred the debt? Check one.
l:] Debior t on%y `l‘ype of PRlORlT¥ unsecured cla|m:
a mwa 2 on;y m Bomeslic support obligations
113 named and newer 2 only .
C] Taxes and certain other doth you owe the government
. la At least one of the debtors and another , . . .
m Claims for death or personal injury while you wore
[3 Chack if this claim is for a community debt mimmde
lI.`t oiher. Speciry
ls the c¥a|m subject to offset?
la No
[.:3 Yes
Last 4 digits of account number ___ ___ ____ ___ $ 5 5
Ptlo:i\y Credlio:"s Narne
. . When was the debt incurred?
Numbor Slreet
As of the date you file, the claim is: Ctieck all lbat apply
g Conlingont
city stale ziP code il unliquidated
3 Disputed
\Nbo lncurred the debt? Choc%< one.
la Debtor t only Type of PREOR!TY unsecured c|aEm:
m Debior 2 amy §§ Domestic support obligations
l.'.li oeblo; 1 and memo 2 only ,
13 Taxes and domain other debts you owe the government
a At least one of the debtors and another . . .
l 3 C|airns for death or personat injury while you were
l;i Check lf this claim ls for a community debt §“t°”'uat°d
l.'} cum Sper,iry
is the claim subject to offset?
m No
W …§!,.XPS g _ .

 

Ofl“icial Forni tUSEZ/F

 

Schedu|e EIF: Creditors Who Have Unsecurod Ctafms

 

page w ofw

Case 8-18-76198-ast

tviahmut Yilan

Debtor 1

 

First Namo Mtddts Namo Last Nerno

Llet All of \'our NOHPR|OR|'¥‘Y Unseoureii Cla¥me

 

Cese number amount 8"18'76193'35'(

DOC 17 Filed 10/22/18 Entei’ed 10/22/18 18251:46

 

 

3, Do any creditors have nonpriortty unsecured claims against you?

Yes

ctalrns tiil out the Contioualion Page of Part 2.

_‘*-‘ i American Express

 

 

 

i:] No. You have nothing to report in this part Submittl’tis form to the court with your other schedutes.

4, List oil of your nonprlority unsecured claims in the alphabeticat order of the creditor who holds each claim if a creditor has more then one
nonpriority unsecured claim, list the creditor separatoty for each olalm. For each claim tieted, identify what type of claim it is. Do riot list ctaims already
included in Part 1. lt more titan one creditor holds a particular claim. list the other creditors in Part 3.lf you have more than three nonpriority unsecured

 

Lest4 digits of account rtunttl:iei'~h:_‘)?w WOH MOM MBH

 

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one.

m Dobior 1 onty

ij Debtor 2 onty

m Deblor 1 and Deblor 2 only

i;l At least one ot the debtors end another

m Cbeck it this claim is for a community debt

is tile claim subject to offset?
g No
n Yos

 

Oibctal Fol'm 106EIF

Nonorioiity Crediior's Name $ 75000
290 Vesey Street When was tile debt incurred?
Numder Street
New Yorl< NY 10285
City stale zlP code As ot the date you file, tire claim ls: Cneck all that apoty.
i:l Conlingent
Wlto incurred the debt? Clleck one. i:_] Un|iqu‘,da¢ed
Ei] ashton only ill mounted
m Debtor 2 only
[] miami and center 2 oniy Type of NONPR|OR!T`Y unsecured cialm:
l:.l At least otto of the debtors and another m Studem loans
{] shock if mls dam ls for a commun“y debt ij Ob|igetions arising out of a separation agreement or divorce
that you did not report as priority claims
|5"19 Cialm Subieftf w OHSE$? m Debls to pension or profit-ettean plans, and other similar debts
tit NO tit owe s act credit card
it tv
§§ Yee
_r*-Z l Capitai One Bartk cfc Rubin & Rotham Lan 4 dtelts of account number __5_ l w§_ _,_1_ $M
Nonpn'onty Creditors Neme When was the debt lncurred?
1787 Volerans Hwy
Number Slreet
fs§andia NY 11749 As of the date you file, the claim is: Check all that app|y.
Ctty olele 2113 Coda [:3 Con"ngem
Who incurred the devt? Cnec$t one. a Uft|i€ttfidafed
m Debtort only m Dtsputed
m Debtor 2 only _
m Debtori and Debtm_ 2 only Type of NONPR|ORITY unsecured ciatm:
m At least one oftho debtors and another m Stt.ldcnt loans
m ij Obllgaflons arising out ct o separation agreement or divorce
Checi< lf this ciaim is for a community debt mm you did not report as minn-ly simms
is the c;aim gubjec¢ w offsef? la fleth to pension or pruitt-sbaan plaos, and other similar debts
m No ig Olher. Specif'y Cl'€€ilf Cal`d
i;l Yes
4.3 ~ t .
_ l Ct{l CBTdeCOStCO VlSa Last 4 digits ot' account number __§ _A_ _Q __Q 284 10
Non;)lloilty Cradllor’s Name $W
When was the debt tncurred?
PO Box 6500
Number Street
Sioux Falis NY 571 17
any - - Sme zip Coda As of the date you file, tile ciairn ls, Chock all that apply.

a Conlin§ent
t;i unliquidated
i._..l Disputed

't‘ype of NONPR¥OR|TY unsecured claim:

i;] Student |osns

i;l Ol}ligelions arising out of a separation agreement or divorce
that you did not report as priority claims

i;] Debls to pension or profit-sharing ptans, and other similar debts

tit other specify credit card

 

Schedt.lle i:`£l'F: Creditors Who Have Unsecured Ctatms

 

page m of

Debtor 1

 

 

 

 

Case 8-18-76198-ast

Mahmut

DOC 17 Filed 10/22/18 Entel’ed 10/22/18 18251:46

Yilan

 

Firsthme Middto Nemo

LHS[ NB|`|'\|!

Case number omni 8“18'76198'3${

 

n -'f \'our NQNPR!ORIT¥ Uneecured Claims -- Conttnuation Page

 

 

 

 

 

 

 

 

 

 

 

 

Ofticial Fol'm 106E}F

 

 

 

 

 

Schedute EIF: Creditors Wbo Have Unsecurod Cla|ms

-'After'ilst|ng any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

4'4 ' Lt4slnf lb9952
N'Eacys as g so accoun nom sr w ____ ____ ____ 3 239_28
Norlpriority Crecttor's Name

h
PO BOX 8053 W en was the debt lncurrel:l?
N“'““‘" wm ns f m d t nl th l i l - n
Mason QH 45040 o s a o you e, e c a m s. C eck eli that appty.
Cil},l Sl.alo ZlP Cod$ m Cglqiinggn{
` C] unliquidated

Who incurred the debt? Ctteck one. m Dispu£ed
g Dobtort only
l:] Debtorz only Type of NONPRlORlTY unsecured cteim:
§ Debtort end nebtor 2 only m Sludam wang

At lease one of me debtors am another m Ohligations arising out or a separation agreement or divorce that
LI] check if this mann rs for a community debt you d‘d "°‘ ’ep°" as ”"°“t" °'”'ms

m Debts to pension or prol“lt»shering plens, and other similar debts

is the claim subject to offset? w Other. Speel'fy Ci'@£llt CB!'Cl
M No
l:l ¥es

4.5!

Sears Last 4 digits of account number ll 1 il _(L $ 3!400.00
Nonpriorlty Crcditor‘s Narne
p0 BOX 6282 When was the debt lncurred? ___
N“'“"°’ S"'"’t As nn d r ' rla er z l t ch t< ll h l
Sioux FaHS SD 57117 o e a eyou e, seem s. ec a l alappy.
city ` stale zlP ones §§ C¢,nn'ngen;
§ Un|i_quidated
Who incurred the debt? Check one. a Dispmed
31 Debtor't only
Cl Debtorz only Type of NONPR!ORLTV unsecured ciaim:
g geisler t ann benign only m Smdemwans
t ease one ° me Ebt°rs and ammar m Ot)ligelions erisan out of a separation agreement or divorce that
l;l Check if this claim is for a community debt yw did not rei_]ort as money C|F'"ms . 1
l.:l Debts to penslon or prolii-shanng plans. and other slander debts
ts the claim subject to offset? §§ eaten Spel;iry Ct‘@dll C&i’d
w No
l:l Yes
__J __ t
Last 4 digits of account number h__ m_ ____ ___
Nonpn'on'ty Creditol’s Namo
When was the debt |ncurred?
Nurnbcr Streot
As of the date you liie, the claim is: Check all that epp|y.
my sen zlr= code ll] contingent
E] unliquidalee
Wlto lncurred the dabt? Check one. [J Dispmed
l;l Dehtorl only
§ Dehtor2 only Type cf NONPRIORITY unsecured claim:
§ Debtori end Debtor 2 onty m Swdem loans
m least one arms mimms and another l;.l Ob|igolicns arising out of a separation agreement or divorce that
§ Checi¢ if this claim is for e community debt you d'd not report as pam-ltv c]a'ms 4
l;l Debts to penslon or prol`lt~sharing pians, and other s§ml|ar debts
ls the claim subject to ottsot? [:| Omer_ gpecigy
§ No
il Yes

page »_J of

 

 

CB.S€ 8'18-76198-3_St DOC 17 Fi|€d 10/22/18 Ent€l'€d 10/22/18 18151:46
Betaiori Mahmut Yil&n Caso number armm&:§:;f§‘i 98”331 _

F“ust Neo)a Middin Name Laai Namo

 

mid the Amounts for Each Type of Unsocured Ciaim

 

 

 

 

 

 

 

 

 

 

 

6. ”f‘otai the amounts of certain types of unsecured claims. This information is for statisticat reporting purposes oniy. 28 U.S.C‘ § 159.
Add the amounts for each type of unsecured ciaim.
Totai claim `
mm simms 6a Domastlo support obligations 621 $ n (}‘G[)
from Paru Sb. Taxos and certain other debts you owe the
government 6b. 5 0.00
6c Ciaims for death or personai injury while you were
intoxicated 6a $ 0,00
6d. Other. Add ali other priority unsecured claims
WrEte that amount nere. 66. + $ 0.00
69. `i‘otai. Add iinos 63 through 6ci. 69.
$ 0_00
Totaf claim
.rotal claims 6f. Studontioans 61 $ @_Oo
from Pa"t 2 GQ. Obi§gations arising out of a separation agreement
or divorce that you did not report as priority 0 00
cialms 6§. $ '
Gh. illeth to pension or profit-sharing pisns, and other
simon debts en 5 0,00
6i. Othor. Add ali other nonprioriiy unsecured ciaims.
write mac amount here. si. + $ _ _13,323.33
61. Totai. Add lines 6fthroi.rgh 6i. 63. $ 1-3!323.38

 

 

 

 

 

Of&ciai Form 106E/F Sot’rodute EIF: Croditors Who Havo Unsecurod C|aims page w o’fp_4

 

CaS€ 8-18-76198-&8'[ DOC 17 Filed 10/22/18 Entered 10/22/18 18251:46

two ' '

namer N|ahmut Yi|an
F:ist Nama Middto Name moments

 

Det)tor 2 .. . .
(Spot.ise lf §iing) inei Name Middle Nerne LastNerno

 

united sims eankmpicy court for mac Eastern District of New Yon<

8~‘¥8~76198»reg
%?Y§H§“be; ' § check innis is an
amended filing

 

 

 

thcia¥ Forrn 106G
Sc_hedute G: Executory Contracts and Unexpired Le_ases cas

Be as comptete and accurate as possible if two married people are filing together. both are equally responsible for supplying correct
infoi'n'iationl lt more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page On the top of any
additional pages, write your name and case number {if known).

 

 

1. 00 you have any executory contracts or unexpired leases?
E] No. Checi< this box and file this form with the court with your other schedutee. You have nothing else to report on this form.
m Yes. Fill in all of the information below even litho contracts or leases are listed on Scheduie A/B: Propen‘y (thcial Forni lOEA)'B).

2. List separately each person or company with whom you have the contract or lease. Then state What each contract or lease is for (for
example, rent, vehicle tease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Person or company with whom you have the contract or lease State what the contract or lease is for
__ 'l'-r_nobi|e USA inc. _ _ Cett phone
i~tame
PO Box 534t(l
Numher Stree!
Beiie_vue WA 98015
city Siate ZiP Code
§§ Oll’iimum SYSt@m COFP» cabie, internat
blame
1111 Stewart Avenue
Noint)er Sheet
Bethpage NY 11714
__ City _ __ __ Staie_ ZIP Coc_le
2.:3
-i;lE?l'i&
Number Street
.. en . y _S_e\@ ss coe .
2.4§
...... Name
Numiier Sireet
_ co ._ 4 .. `Sian_ ziPCode_
2.5§
..... N__m.e
Number Sireel
City State ZlP Code

 

OMciai Forin 1066 Sehectule G: Executory Contract,s and Unexptred t.eases page 1 of u%

Dei)tor 1

Mahmut

Case 8-18-76198-ast

Yilan

 

F“ust Nama

Les\Nsme

- Add|tional Page lt You Have More Contrm:ts or l.eases

Person or company with whom you have the contract or loose

iii

 

Nemo

 

Number

Street

 

city

n Slete

ZlF' Code

 

blame

 

Numher

Sl_reet

 

city

Stale

Z|P Code

8-18~76198~1'9:9

Caso number (#mwn>

What the contract or lease is for

DOC 17 Filed 10/22/18 Entered 10/22/18 18251:46

 

 

Name

 

Number

Streot

 

city

Stalo

ZEP Co<!e

 

Nems

 

Numl:ier

Street n

 

city

Siate

zlsj code

 

 

 

blame

 

Number

Street

 

city

Stats

ZlP Code

 

2.
.”Ti

 

Oit`iclal Forr‘n 1066

 

 

blame

 

Number

Streel

 

 

City

stare `

Z|P Code

 

 

Name

 

Number'

 

iStreet

 

city

Stale

ZlP Code

 

blame

 

Number

Slreot

 

C§ty

Steto

Z*F' C__‘?Si_e

Si:hedufe G: Exocutory Contracts and Unexplred Leases

page w__ of ___

CaS€ 8-18-76198-&8'[ DOC 17 Filed 10/22/18 Entei’ed 10/22/18 18251:46

' _F.i_ii_'_i;_;_tri§s'.`i_nrq__i_»n'_iaii_oh'ri l

canton Mahmut _ Yilan
Firsl Name 'Mid`dle Nanra least Nemo

Debtcr 2 - .
{S;)otlse, if filing) First Neine l¢lid=dla Narne Last blame

 

Llnitei:i States Eaekru;)tcy Court for lhe: Di$irict Oi
Case number 8~18=76198“8$1

tit knoum)

 

LI] check if this is an
amended filing

 

Oificial Form 106H
Schectule H: Your Codebtors 12115

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible if two married people
are filing together. both are equally responsible for supplying correct information it more space is needed, copy the Additionat Page, titi it out,
and number the entries in the boxes on the tett. Attach the Additioriai Page to this page. On the top of any Additional Pages, write your name and
case number (if known}. Answer every question.
t. Do you have any codebtors? (lf you are tiEing a joint case, do not list either spouse as a codebtor.)
m No
m Yes
2. Within the lost 8 years, have you lived in a community property state or territory? (Communi‘ty property states end territories include
Arizona, Caiifornia, ldeho, Louisiana, Nevada, New Me)<icor Puerto Rico, Texas, Washlrigton, and Wisconsin.)
E No. on to ring 3.
[:l Yos. Did your spouse, former spouse, or iegat equivalent live with you at the time?

UNo

la Yes. in which community state or territory did you livo? _ _ . Fiil in the name and current address of that person.

 

items of your spousel former spocso. or legal equivalent

 

Numt)or Slreot n

 

Cliy Slala Z|F‘ Coda

3. tn Column 1, list all of your codebtors. Do not lnctude your spouse as a codebtor lt your spouse is iiting with you. Llst the person
shown in line 2 again as a codehtor ouiy if that person ts a guarantor or cos|gner. Make sure you have listed the creditor on
Sched'uie D (Offtciai Form ‘lElBD}, Scheduie E/F (Ofii_cial Form 105E/F), or Schco'ule G (Ofticial Form 1066). Use Schedule D,
Schedule E/F, or Schedule 6 to fill out Colurrin 2.

Columrr 1: Your codebtor' . Coiumn 2.' The- creditor to whom you owe the debt

Checi< all schedules that apply: _

 

3.’i

 

 

 

ill Scheduie D, fine
Name m
L:l Scheduie E/F, line

 

 

 

 

 

 

 

 

 

 

 

 

 

Nl"“h°' Siw'l U Schedute G, line
Ciiy. . . _ _. .. Sew .. . . _ _ ___.eri§hdé
3.2|
. [] Scheduie D, line _
Nama
El schedure Err,iine…
winner Simi tit Scheduie o, line
eiw... _. .. __ _______s_ei@_____ ' ,_ crews ~
3.3
- - - -- § Sciiedule D,|ine___m____
Name
[3 Schedule t?..'l:,lineh_“_**~*M
weber Sfieei tit echeduie e, line
_.C.iiy..`...f. . . .S.iaie. . .. wreon

 

 

OEficial Fonn 106H Schectule H: your Codebtors page t of_,___

CaS€ 8-18-76198-&8'[ DOC 17 Filed 10/22/18 Entel’ed 10/22/18 18251:46

seven Mahmui Yiiei~i Camumbew,,m, auie-'reiee-asl

 

 

Flrst Neme Nidd?e Name Last Namo

 

' _ Addltlonat Page to Llst lillore Codetztors

 

Co.'umrl 1: ‘!cur codebtor Column 2.' 'l`he creditor to whom you owe the debt
Check all schedules that apply:
t.`..i echedele o, line

ill Schedule t§/F, tine
Numiiar emi §§ echediiie G, line

 

Nei'no

 

 

§ Sohedule D,ltne
L_.t Schedule E/F.iine _
Number erwin ill Schedule G, line

 

Namo

 

 

34,.
::l - lle schedule D, line _
Nerne “-*"""
§§ Schedule EIF, line
Number Sl_rae{ n m Schedl§|@ G, line

 

 

 

city scale ' zlP code

3-m
j U Schedu!e D, line

Name
U Scheclufe E)'F, line
reimin elmer E:l Schedule G. Line

 

 

 

El_

 

F.;l Schedule D, line
El scheme l.=.il=, fine
Numlier siren ` 123 Schedu!e G, line _

Name

 

 

f_?il_y_ _ ____S_lilf@ __ __ ZlPCOGG__ ,_ __

w

8 Schedule 13, line
ill Schedule EIF, line

Numbar segal l;l Schedule G, tine

 

Neme

 

 

Q?f¥_ __ __ _ , _____ __ ._ _ __ __ __ _S_i§““___ _, _ _Z*F_S`»PS‘£¢_ _ _,

m Schedule D, tine
l:] Schedute EIF, line
lumbar elmer E;] Schedufe G, llrle _

 

Nalne

 

 

§ Schedizle D, line
E.] schedule ErF,iin@ md
Numiier engel ` ` [3 Schec!ule G, line

 

Name

 

 

 

city __ _ 7 7 ` scale __ _ zch¢irl¢i

 

 

Oft’loial Form 106|~1 Schedu[e H: Your Codebtors page _ of W

 

CaS€ 8-18-76198-38'[ DOC 17 Filed 10/22/18

:::':Fti`l:lo t_l_iis" ntor'ma_tlon't idea n y` s

Mahmot

Firsl Nome

Y_ilan

Lasl Name

Deblor1

 

t¢! iddto N ama

ti}ebtor 2
{Spouse, if niing) F'lnzt wants

 

Middlc Name test Narne

united stores oankroptoy coonfor:no; Eeslem Déstrlct of New Yorl<
8-18-_76198~ast

Case nomber
(l¢ known)

 

 

 

Ent€l’ed 10/22/18 18251:46

Check if this is:
w An amended nling

m A supplement showing postpetition chapter 13
income as ot the folfowirig date:

OfticialForm‘lOSl _
Schedu|e t: Your lncome

 

MM r norrva

121'15

 

Be as comp!ete and accurate as possible ll two married people are ttllng together (Debtor 1 and Det)tor 2), both are equally responsible for
supplylng correct information if you are married and not filing jointty, and your spouse ls living with you, include information about your spouse
lt you are separated and your spouse ls not filing with yon, do not include information about your spouse lt more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question

Describe Emp|oyment

 

 

§.1 Flll in your empfoyment

Debtor 2 or non~flilng spouse

 

information Debtor ‘t

if you have more than one job,

attach a separate page with .

information about additional Em¥’¥°y'“‘-‘"* Sfa*us m Empi@y€d

employersl [] Nol employed
lnclude part~time. Seasonal, or

self-employed work.

occupation ice Cream Vendor

l;l Employed
m Not emptoyecf

 

Occupation may include student
or homemaker, if tt appliesl

Emp|oyer’s name S_elf~@mplO}/€d

 

Employer’s address 1346 Plne Acres Blvc|

 

l\tumber Street

Number Slreet

 

 

Bayshore NY 11706

 

City State ZIF‘ Code

How tong employed thero?

Give Detaiis Ahout Month¥y lncome

 

otiy` state zip code

 

spouse unless you are separated

below. lt you need more space. attach a separate sheet to this form.

Estirnate montth income as of the date you file this form lf you have nothing lo report for any line, write $0 in the space include your non-filing

if you or your non~t“iling spouse have more than one employer, combine lite information for all employers for that person on the lines

For Debtor 2 or
non-tl||ng spouse

 

 

 

For Dehtor 1
2. Llst monthly gross wages, satary, and commissions (bofore alt payroll
deductions). if not paid monthly, calculate what too monthly wage would be. 2. $ 117@0,00
3` Estlrnate and list monthly overtime pay. 3_ + 3 0.00
` 4. Calcu!ate gross tncome. Add line 2 + line 3_ 4_ $ 1,700.00

 

 

 

 

 

Oft"lciat Forrn ll}til Sohedule l: Your income

page 1

 

[}ebtoi‘ 1

 

Case 8-18-76198-ast

illiahmut

F`usi Narne

Yiian

 

` i.ridao times Lasi Name

 

 

 

 

DOC 17 Filed 10/22/18 Entel’ed 10/22/18 18251:46

Case number pittman 8“18‘76198"@3{

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

13. Do you expect an increase or decrease within the year after you fite this form?

Otl"icial Form 106|

El

No.

 

 

 

For Dei)tor 'i For Debtor 2 or
_ _ _ _ _ _on-fii .'. S.‘.__=Ss
Copy line 4 here 9 4. $ O»OO $
5. List all payroll deductions:
n 5a Tax, Mecticare, and Sociai Security deductions 5a $ 0.00 5 _
Sb. Mandatory contributions for retirement plans Sb. § 0,00 $
5c. Voiuntary contributions for retirement plans 5c. $ 0.00 3
oct Required repayments of retirement fund loans 5d. $ 0.00 5
5e. lnsurance 5e. $ 0-_(}0 5
5€. Domestic support obligations 5f. $ O-GO 3
5g. Union dues 59_ $HF.W__Q_OWO__ $
Sn, Otner deductions Speoify: an +$ G.O[} + s
ii. Add the payroll deductions Add lines 53 + 5b + 5a + 5d + 5a +5f + 59 + 5h_ 6. 5 0,0U $
?. Caiculate total monthly take-horne pay. Subtracl line 6 from line 4. 7. $ li,?{}O-OO $
8. Llst all other income regularly received:
c Ba. Net income from rental property and from operating a business,
profession or farm
Attach a statement for each property and business showing gross
receipts ordinary and necessary business expensesl and lite total $ 0 00 $
monthly net income. Ba. `
8b. interest and dividends Bb. $ 990 $
8c l=amlly support payments that you, a non~iiling spouse, ora dependent
regularly receive
include alimony. spousal support. child support, maintenance divorce 5 0 00 5
setlternent, and property settiernent. 80. % -»-
Bd. Unempioyrnerit compensation Bd. S _ _ 000 3 .
tie. Social Security Be. 5 G_{)O $
Bf. Other government assistance that you regularly receive
include cash assistance and the value (it known} of any non~cash assistance
that you receive, such as food stamps (benel"its under the Supptemeniai
Noirliton Assistance Program) or housing subsidies
Si)eciiy: Br. $_…_(LQ_Q $
Bg. Pension or retirement income Bg. s 0.00 3
an other monthly income Spocify: sit + $ _ 0._00 + s
o Aod ali other income nod lines sa -i so + so + so + so + sf+ag + an 9. s 0.00 s
§10. Ca|cu|ate monthly income Add line 7 + line 9. 00 0 00 E_'
5 Add the entries in line 10 for Debtor 1 and Debior 2 or nonsnling spouse ill $m~l'lo--O-`- + $ ` '“` $ ’E'YGO`OQ
:11, State all other regular contributions to the expenses that you list ln Scheduie J.
z inciude contributions from an unmarried partner, members of your household your dependents your roommates. and other
friends or retaiives.
Do not inciude any amounts aiready inoiuded in lines 2»10 or amounts that arc not avaiiable to pay expenses listed in Scheduie J.
Specify: 11_ + $ 0.00
12. Add the amount in the fast coiumn of line 10 to the amount in line11, The result is the combined monthly income 1 '
Wrile that amount on the Stimmary of Your Asseis and Li'ebi'li'ti'es and Cedai‘n Sieti`sti'cai information if il applies 12. $_____,l(_)_(_]_'_gg.
Comhined

mentiin income

 

Yes. Expiain:

 

 

Scheditle l: Your income

page 2

 

CaS€ 8-18-76198-&8'[ DOC 17 Filed 10/22/18 Eiitei’ed 10/22/18 18251:46

,. `r='_iii_.iq`r_h`is i_li_rsimécip_n`;;c`i:e_f_e_§_i`c_i:`j`: _' "

ll/lahmut Yi . .
oebtori FHS‘NW L;‘Z::w Check if this is:

l}ebt€irZ . . ‘
(Spouse. ifi`iling) Firsii\tame M;d¢ieuama mimms m An amended fitan

3 A suppiernent showing postpetition chapter 13
expenses as of the following date:

 

Uniied States Bankruptcy Court for tiie; EaSi€rii Di$trici of New York

Case number 8“18’76198'3$ .. MM ,i DD} Y¥YY
(ii‘ known)

 

 

 

Ofiiciat Form 106J
Scheduie J: Your Expenses - eis

Be as complete and accurate as possiblel if two married people are filing together, both are equally responsibte for supplying correct

information if more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and ease number
tit known). Answer every question.

 

 
 

_ Describe ¥our Housel\old

jl. is this a joint case?

M No. Go to line 2.
l:l Yes. Does Debtor 2 live in a separate household?

3 No
13 Yes. Debtor 2 must me 0thciai Form il}BJ-Z, Expenses for Separate Househoid of Debtor 2.

 

 

 

 

 

 

 

2. Do you have dependents? {:} NO _
Dependent’s relationship to Dependent’s ideas dependent live
Do not list Dehtorl end ij Yes, Fii| out this infg;maiion for ashton or oebtor 2 age with you?
Debfor 2\ each dependent ......................... ' ' § a
Do not state the dependentsl SOi"| 14 _ § NO
names j Yes
la No
[:} ‘{es
13 No
m Yes
l;] No
[;] Yes
_ m No
f m Yes
3. Do your expenses include w No

expenses of peopte other than m
_ rosenn end ir<_>_iir__dsneriii_enfs?_ Y?i. . , ,.,

 

  

l_’art Esiimate Your Dngoing Monthly Expenses

Estlmate your expenses as of your bankruptcy filing date untess you are using this form as a supplement in a Chapter 13 case to report

expenses as of a date after the bankruptcy is filed. if this is a supplementai Scheduie J, check the box at the top of the form and fill in the
applicable date.

inoiude expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule i‘: Your Income {Officiai i`~'orm 'i(itii.} Y°“" expenses

 

4. Tiie rentai or home ownership expenses for your residence include first mortgage payments and

any rent for the ground or iot. 4, $WM
lt not included in fine 4: n

star Real estate taxes 43_ $ 0.00
rio Property, homeownei"s, or renter’s insurance 411 $ G.OO
Ac. i-tome maintenancel repair, and upkeep expenses 4c $ 0.00
dd. i-ton'ieownei’s association or condominium dues 4d. $ O»OO

Oinciai F-‘orm 106.} Scheciu|e J: Your Expenses page t

CaS€ 8-18-76198-&8'[ DOC 17 Filed 10/22/18 Entered 10/22/18 18251:46

 

 

 

 

 

 

 

 

 

 

mabe Mahrnut Yilen CaSe member t_,,m,,,,, 8~18~76198=-33€
Flrst NBrns Midd§o Narne LQS\ Namo
'Your expenses
5. Addillonal mortgage payments for your residencel such as horne equity loans 5, $ 0`00
6. Utll|ties:
Ba. Electricily, heat, natural gas 6a $ 150.0&
611 Water, sewer, garbage collection 611 $ 5000
ec. Telephone. cell phonef lnternet. satelliie, and cable services ec. $ 200.00
ee. ether. Specify; heater oil _ Sd_ $ _ 500.00_
7. Food and housekeeping supplies 7_ $ 750.00
8. Chlldcere and children’s education costs a, $ 'EO0.00
9. Clothlng, iaundry, and dry cleaning 9, $ 0.0U
10. Personal care products and services 10. $ @.00
11. Medlcal and dental expenses 11. $ U.OO
12. Transportet`ion. include ges, maintenance bus or train lere. $ 200_00
Do not include car payments 12. '
13. Entertainment, clubs, recreation, newspapers, magazines and books 13. $ 0*00
14. Charltabie contributions and religious donations 14, $ G-OO
15. Insuranoe.
130 not include insurance deducted from your pay or included in lines 4 or 20.
15a Life insurance 153_ 5 0.00
15b. llealth insurance 15b. 3 _ 000
15c. Vehicle insurance 15¢_ $ 150.{}0
155. Olher insurance Specify: _ _ 156. $ 0‘00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
S‘pecify: _ 16. $M
1?. lnstal|ment or lease paymen€s:
173. Caz payments for Vehicle 1 1?a. $ 0-00
1751 Car payments for Vehicle 2 17b. $ . 0~00
170. 0flzer. Specify: 176_ § 0.0U
17d. Other. Specily: _ . 175_ $ 0.00
18. Your payments of allmany, malntenence, end support that you did not report as deducted from
your pay on line 5, Scheo‘ule !, Your lncome (Official Form 1061). 18. $ _ OMQQ
19. Other payments you make to support others who do not live with you.
Specify: __ _ . 19. $ _ _ _ O.QO
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule l: Your l'ncome.
20aA Mortgages on other properly 203l $ 0'00
ZUb. Real estate taxes gub_ $ 0.00
20o. Property, homeowner's. or renter's insurance znc. $ 0-00
zod‘ Meintenance, repair, and upkeep expenses 206. $ O-OO
203. Homeowner’s association cr condominium dues 209. $ 0~00

Oflicial Form 1063 Schodule .l: ¥our Expenses page 2

CaS€ 8-18-76198-&8'[ DOC 17 Filed 10/22/18 Entered 10/22/18 18251:46

Debtor*§ Mahmut Yi|an

Firs\ blame Ms`déle Name Laet Namo

21. Other. Specify:

 

22. Calculate your monthly expenses
22a Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Ofiicial Form 106J~2

220. Add line 22a and 22b. The result is your monthly expenses

'23. Calculate your monthly not lncorna.

23a Copy line 12 (your combined monthiyincome) from Scheduie i.

23b. Copy your monthly expenses from line 22c above

23c. Subtract your monthly expenses from your monthly income
The result is your monthly net income

241 Do you expect an increase or decrease in your expenses within the year after you file this fon'n?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

 

§
L:l Yes. § Explain here:
s
l
Oil"lcial Form lOSJ Scl‘tedu¥e J: Your Expenses

21.

223.

22b.

22¢.

23b.

23¢.

Caso number wmata 8"18°761_93*&St

+$ _ _ 0,00

3 5,463.43
$ _ _ 0.00_

3 __ 5§463._43

§ _ 1,700.00

._$ 5,463.43

 

$ ~3,763.43

 

 

 

page 3

 

CaS€ 8-18-76198-&8'[ DOC 17 Filed 10/22/18 Entered 10/22/18 18251:46

_;._ie-._._.-t;t.;.'tmeet.~ ~ -

canton Mahmut

First blame

 

Deblor 2
(SpOUSO. lfl”tlil'lg) FirslName

 

United Siates Bani<ruptcy Courl for the: DiSlricl of

Case number 8“18'76198”331 ‘ m Check if this 35 an
nrknowm amended H|ing

 

 

Officiai Form 1068um
Summary of Yonr Assets and Liabilities and Certain Statistical lnformation 12115

 

Be as complete and accurate as possible if two married people are filing together, both are equally responslble for supplying correct
lnformatlon. Flll entail ofyour schedules first; then complete the informatlon on this form. If you are fiting amended schedules after you file
your original forms, you must fill out a new Summery and check the box at the top of this page.

 

Summarize ‘(our Assets

 

Your assets
Value of What you own

1. Schedufe A/B.' Property(Oiiicial Form 106A1'B)

 

 

 

 

 

 

ia. Copy line 55. Total real estate, from Schedule A/B .......................................................................................................... $ wm
1b. Copy line 62, Tota§ personal properly, from Schedule A/B ............................................................................................... $ M
1a copy line 63, roles of eli property on Schedwe A/e ....................................................................................................... $ WL§M
.- summarize Y°u;- L|ahllltle$
Your liabilities

Amount you owe
2. Schedu!e D.' Creditors Who Heve Cl'alms Secured by Properly {Of‘ncial Form ‘lUSD)

 

 

 

 

 

 

 

2a Copy the total you tisted in Column A, Amount ofclar'm, at the bottom of the test page of Part 1 of Scheduie D ............ 5 w
3. Schedule E/F: Credr’!ors Who Hove Unsecureo' Ciaims ((_)fliclal Form 106EIF) 0 00
3a Copy the total claims from Pa:'t 1 (priority unsecured claims) from line 6e of Scheduie E/F ............................................ $ *”M
3b. Copy the tola| claims from Part 2 (nonprierity unsecured claims) from line 63 of Scheduie E/F + $ 13.323|38
Your some liabilities s 21 3'749~21
Summarize Your lucerne and Expenses
1%. Scheduio i: Yourlncome (Ol'ilciol Form 106|) 1700
Copy your combined monthly income from line 12 of Scheciule l .......................................................................................... 5 _
5. Scheduie J.‘ Your Expenses (OfEcial l=orm lUBJ)
Copy your monthly expenses from line 226 of Schedu!e J .................................................................................................... 5 w

 

Ornciel l:orm 1068ur'n Surnrnary of ¥our Assets and Llabl|ltles and Certaln Statistloal information page ‘l of 2

 

CaS€ 8-18-76198-&8'[ DOC 17 Filed 10/22/18 Entered 10/22/18 18251:46

seem Mahmut Yilan Casenumbe,(mw,,, 8~18~76198-351

First Namo Middla Name test-Ne:ne

 

 

n Answer ‘!’hese anest!ons for Adminlstrattve and Stattatlr:al Records

 

 

6. Aro you tiiing for bankruptcy under Chapters 7, 11, or 13?

m No. You have nothing to report on this part of the form_ Check this box and submit this form to the court with your other echedu!es.

@ Yes

 

7. What kind of debt do you have?

M ‘{our debts are primarily consumer devts. Consumer debts are those "incurreci by en individual primarily for a personai,
familyl or household purpose.” 11 U_S‘C. § 101(8). Fi|i out lines 8»99 for etatisticei purposes. 28 U.S.C. § 159.

53 ¥our debts are not primarily consumer debts. You have nothing to report on this part of the form Check this box and submit
this form to the court with your other scheduies.

 

 

8. From the Statement of ¥our Current Monthiy i'ncome: Copy your total current monthty income from Ofticiel
Form 122A~1 Line 'ET; OR, Form 12213 Line ‘l'l; OR, Form 1220-1 Line 14. $_ 1700

 

 

 

 

9. Copy the foliowing special categories of ciaims from Part 4, ilne 6 of Scheo‘ule E/F:

 

Totai ciaim
From Part 4 on Schedule E/F, copy the following:

Qa, Domes[io support obligations (Copy line Be‘) $ 0
Qb. Taxes and certain other debts you owe the government (Copy line 6b.) $__…W_O.
9a C!aims for death or personal injury white you were intoxicated (Copy line 60.) $ . 0
9d. Student |oans. (Copy line Gf.) $ 9
9e. Obiigetions arising out of a separation agreement or divorce that you did not report as $ 0

priority ciaims. (Copy line Sg.) “_"'"""_““*+“'“"*"
9f. Debts to pension or profit-sharing plans, end other similar oebts. (Copy line Gh,) + $ 0
og. To:ai. Add ames 93 through 9r. 3 m 0

 

 

 

 

Of&ciel Form iOBSum Summary of Yoor Aesefs and L|abiiitios and Certain Statisti¢:ai information page 2 of 2

 

 

CaS€ 8-18-76198-&8'[ DOC 17 Filed 10/22/18 Entered 10/22/18 18251:46

_'_jf~'j_ifi__i_rz._¢fu§__zn`rs>jrez__ ` z

rhme M&hmuf Yilal'l
Firsl blame ' last Nema

Debtor 2 _
(S;)ouse. if liting) Firsl Name Midc|ie Narrxe best Name

 

Uniied States Bankruptcy Court ior the: Eastem E}isirici of New York

Caso number 8"18”76198_“35{
whom l§ check rr this is an
amended milling

 

 

 

Oi‘iiciai Form 107
Statement of Finam:ial Affairs for lmlividuals Fiting for Bankruptcy ours
Be as complete and accurate as possiblel lftwo married people are filing together, both are equally responsible for supplying correct

information if more space is needcd, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if knowo). Answer every question.

 

 

Givo Details Ahout ‘(our Marltal S¢atus and Where You Lived Before

 

1. Wi'rat is your current marital status?

d Married
ft Not married

2. During tire last 3 years, have you lived anywhere other than where you live now?

§§No

El \'es, List all of the places you lived ir\ the last 3 years. Do not include where you live now.

 

 

 

 

 

 

 

 

 

 

 

 

Dehtor 1: Dates Dehtor 1 Debtor 2: Datee Debtor 2
lived there lived there
m Sarnc as Debtor 1 m Same as Debtor1
. From . From
Numt)er Street Numbcr S€reet
To To
city stare zip code city stare zu= cer
[;] Seme as Det)lor 1 m Slme as chtort
From _ From
Nurnber Sireet Number Streot
To `l"o
city " Siaie zaP code city Siaee zaP code

§.3 Withln the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
7 states and territories include Arizoria, Californie ldaho, Louisiana, Nevada. New Mexico, Puerto Rico, Texas, Washinglon, and Wiscortsin.)-

EJNO

il Yes. Meko sure you fi§l out Scheo'uie H: Yor.rr Coo'obtors (OHicia| l'-‘orm 106H).

 

E)rplain the Seurces of Your lncome

 

 

 

OiHcial Form 107 Statement of Finaocial Affairs for individuals Fl|ing for Bankruptcy page 1

CaS€ 8-18-76198-&8'[ DOC 17 Filed 10/22/18 Entel’ed 10/22/18 18251:46

Dohlort Mahmut yi|an Case number irm)x§j_e"?€'i ga”ast _

Firsl Nama Niod!e blame La~si Na:ne

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fii| in the total amount of income you received from a|l}obs and all businesses, including part-time aciivities.
lf you are hiing a joint case and you have income that you receive together, list il oniy once under Debtor i,
ij No
E Yes. Fiii in the detaiis.

 

 

Sooroes of income times income Sources of income Gross income
Check ai| that apply. (before deductions and Check aii that apply. (i)efore deductions end
exclusions) exciusions)

- a Wa en commissions m Wa ' l n
of f g , . ges.ccmmissc s,
Froin January ’l cu rent year until maass ups 5 12,000_00 nuses, ups $

the date you tiied for bankruptcy:
m Operaling a business la Ooerating a business
Fo}. last calendar year m Wages. oommissions. m Wagee, commissions,
` bonuses. tips $ _ 21 ,322.00 bonosos. tips $
(Ja"uary 1 to D€Cember 31-2§111,4%~) m Operating a business m Opereling a business
For the calendar year before that: cl :va§es' °‘t’immissi°"s' § bwaages' °‘f’_mmissl°“s'
onusesl pa $ n 22’950_00 nuses, ips $

(Janua'y 1 10 DeCembel' 31s$_9¥`|.,,'1(£__._m) E] Gperati`ng a business §§ Operaling a business

5. Dld you receive any other income during this year or the two previous calendar years?
inciucie income regardless of whether that income is taxable Examples of other income are allmony; child support Social Security,
unemploymenl, and other public benefit payments; pensions; rental income; interest dividends; money collected from lawsuits; royaltiee; and
gambling end lottery winnings. lf you are iiiing a joint case and you have income that you received together, list it oniy once under Debtor 1.

Lisl each source and the gross income from each source separately Do not include income that you iisled in line 4,

EZNo

lI] Yes. i=iii iri the deraiis.

 

 

Sources ot income Gross income from Sources of income Gross income from

Describe bolcw. ?a°h 3°“"‘9 Doscribe below. °a¢i‘ _8°_“"°9
` {hefore deductions and ` ibeiore deductions and
exclusione) exclusions)

Fron'i January ‘i of current year until W“”+°“'m_"__-“ $
the date you filed for bankruptcy: _ _ _ $

For inst calendar year:
(January 1 to Decen‘iber 31,.2017 )
er

 

 

 

 

 

For the calendar year before that: $
(January 1 lo Decernber 31,2036 ) 5
wYY 5 _-~_-

 

Ofiiciei Forrn 107 Staterrrent of Financiai Affairs for individuals Fiiing forr Bankruptcy page 2

 

CaS€ 8-18-76198-&8'[ DOC 17 Filed 10/22/18 Entered 10/22/18 18251:46

ng[o; 1 Mahmut Yilan ease number (!{kmm] 8"18‘“76198'ast

First Narns Midd!e Narna Last Name

 

 

- Llst Gertain Payments You Made Before You Filed for Bankruptcy

 

 

6. Are either Debtor 1’$ or Debtor 2’5 debts primarily consumer dehta?
g No. Neither Dobtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, famiiy. or household purpoae."
During the 90 days before you fled for bankruptcy, did you pay any creditor a total of $6.425* or more?

ill No. onto tina 'r.

m Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
totai amount you paid that creditor. Do not include payments for domestic support obilgations, such as
child support and aiimony. Aiso, do not include payments to an attorney for this bankruptcy case.

* Subjeot to adjustment on 4101!19 and every 3 years after that for cases filed on or after the date of adjustment

m Yea. Bebtor 1 or Debtor 2 cr both have primarily consumer debts.
Durirtg the 90 days before you filed for bankruptcy, did you pay any creditor a total of $60(3 or more?

M No. onto line 7.
l:} Yes. hist below each creditor to whom you paid a totai of $600 or more and the total amount you paid that

creditor. Do not include payments for domestic support obiigations, such as child support and
alimony A|so, do not include payments to an attorney for this bankruptcy case.

 

 

 

 

n Datas of total amount paid Amount you stitt owe Was this payment for...
payment
. $ $ a Mortgage
Czechtoz’s Name
m Car
Nun'iber Slreet n m Credi! GBrd

m Loan repayment

 

m Supp|iers or vendors

 

 

 

 

city 3th zip code a other
$ - 5 n Mortgage
Creditor’s blame
L:} Car
Nurnber Street ` m Credit card

n Loan repayment

 

g Sopp|iers or vendors

 

 

 

 

Cily ` Stale zip code ' E:.l other _ _w_
$ $ - m Mortgage
Crec:'tor‘s Name
m Car
Number Strect m Credit card

 

m Loan repayment

 

g Suppliers or vendors

m ther

 

city ` scale z:Pcode

Oriicial Form 107 Statemant of Financial Affairs for individuals Filing for Bankruptcy page 3

 

 

CaS€ 8-18-76198-&8'[ DOC 17 Filed 10/22/18 Entered 10/22/18 18251:46

gemert Mahmut Yilan ease §umba, {Hm)§i 8»761 98-ast

 

Firsl Narne Middte Nama Last blame

 

z 7. Within ‘i year before you fiied for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
3 lnsiders ino§ude your reiatives; any general pariners; relatives ot any generai partners; partnerships of which you are a general partner',
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securitios; and any managing

 

 

 

 

 

 

 

 

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obiigations.
such as chiiti support and alimony
§ No
m Yes. List ali payments to an insider.
Dates of Totai amount Amount you still Raason for this payment
payment paid owe
$
inslder’s Name $
Numbsr Street
city state ziP code
$_M_ $
insider’s Nsme
Number Stroct

 

 

 

city ` state th code

B. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
f an insider?

include payments on debts guaranteed or cosigned by an insiderx
M No
C] Yes. List all payments that barrenth an insidor.

Bates of Totai amount Amount you stit| Reason for this payment

payment "“'d °“'" . mcide aestt<zr’an.sms..

 

insido\’s blame ' $ $

 

 

Numbor Sireet

 

 

 

city state zlP code

 

insiders blaine

 

 

Number Streat

 

 

 

Qitr. . _ _ _$cate__ _ zincer

Oiftciai Forrn 107 Staternent of Financial Affairs for individuais Fi|ing for Bankruptcy page 4

 

 

 

 

CaS€ 8-18-76198-&8'[ DOC 17 Filed 10/22/18 Entei’ed 10/22/18 18251:46

Deblor1 Mahmut

 

Ftrst Norne Midoio Na:no Last Nama

 

and contract disputes

m No
E] Yes. Fili in the details

Case tii.ie

 

Case number

. .

Ceso title

 

Case number

 

Check ali that apply and till in the details below.

M No. eatorineti.
E] ves. ran iri the information hewitt

Neture oi' the case

 

Credilor‘s Name

 

Nuinber Sireei

 

 

City Stato Z|P Codo

,_¢Yitan Case number {,,,WD, 8`~18~76198_~ast

 

identify hegat Action:, Repossessions, and Fore¢:!osures

n 9, W|th|n 1 year before you filed for bankruptcy, wore you a party in any iawsuit, court action, or administrative proceeding?
List aii such matters, inctuding personal injury cases, smait claims actionsl divorces, coiiection suits, paternity actions, support or custody rriodiiications1

 

 

 

 

 

Court or agency Status of the ease

Co'urt Namo m Pend{ng

m On appeal
N\imbor Si.reot g Concluded
city ` stats 219 code
Coun Nerne a Pending

ij Ort appeal
Numi>er Street m Conciuded

 

 

 

 

creditors blame

 

Number Stroei

 

 

Ci§r Stata Z|P Code

 

Ofiiciai Form 107

city suits zip code

z 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosod, garnished, attached, seized, or levied?

 

 

Expiain what happened

Property was repossessed

Property was foreclosed

Property was garnished

Property was attached seized, or levied

'[JUUE

Statement of Financial Affairs for individuals Fiting for Bankruptoy

Describe the property ' Date Va!ue of the property
§
is

Exptain what happened n

m Property was repossessed

13 Property was foreclosed

f] Property was gamisheti.

13 Property was attached, seized, or ievied.

Etesoribe the property E}ate \i'a|ue of the property
s

page 5

 

 

CaS€ 8-18-76198-&8'[ DOC 17 Filed 10/22/18 Entered 10/22/18 18251:46

gemm 1 Mahmuf Yiian 7 gass number{,,,(,,m, 8~18-76198~an

 

 

Flrsl Name Niddle blame Last Namo

11. Wilhin 90 days before you filed for bankruptey, did any creditor. including a bank or financial institutionl set off any amounts from your
accounts or refuse to make a payment because you owed a deht?

UNO

{Il Yes_ Fm m me deena

 

 

 

 

 

 

Deser!i)o the eet|oo the creditor took Bale action Amount
' was taken

Cr'ed'iler’s Narne §
$

Numl)lr St!eet §
§
;
§

Ci\v Slafv ZlP Cr>de Lasl4 digits of account number: XXXX~

12. W|th|n 1 year before you filed for bankruptcy was any of your property in the possession of an assignee for the benefit of
oreditors, a court~»appo|nted receiver, a custodian, or another officlai?

53 No
C] Yes

 

' Llst Gertain Gi!“ts and Contrihutlons

 

 

13.Wilbin 2 years before you filed for iaani<r\.qatr:y1 did you give any gifts with a total value of more than $600 per person?

511 No
iii _Yes. rail m the deems for each gm.

 

 

 

 

 

Sifis with a total value elmore than $600 Desoribe the gle bales you gave Value
per person the gifts -
$
Person lo W¥\om You Gave %ho Gifi
$
Nurnber Siree%
city earn zia code
Person's relationship to you
Gif!s with a total value of more than $600 Desoribe the gifts flaws you gave Va|ue
per person _ __ _ _ __ __ __ ___ _ _ __ _______ _ _,_ __ ____ ___ __ __ me ellis
. $
Person lo Whom You Gave the Gifl
$

 

 

Numbo: Slreel

 

 

city stale zlP code

Parson’s relationship to you

 

 

 

OHEcia| Fo:'m 107 Statement of Fir:ancia| Affairs for Individuais Fi|ing for Bankruptcy page 8

 

 

CaS€ 8-18-76198-&8'[ DOC 17 Filed 10/22/18 Entel’ed 10/22/18 18251:46

Debtor 1 Mahmut Y§§an Case number carmen 3*18“76198“33§
FirstNerna Mlddia Name Lasl?\‘eme

 

 

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with s total value of more than $SGB to any charity?

@No

la Yes. Fi|l in the detaiis for each gift or contribution

 

Gifts or contributions to charities Desclibe what you contributed Dafe you Vsiue
that total more than $600 contributed

_ _§

§

§

§ $

Chenty's Name §
§ t

 

Numbet Strcoi '

 

city stale zchoda § _ _ _ _ __ §

 

' hist Certain losses

 

 

 

15. Withln 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you tose anything because of thett, tire, other
disastor, or gambiing?

§§No

m YesA Fi|| in the dotaiis.

Doscribe tire property you lost and Descnbe any insurance coverage for the loss Dato of your \l'a!ue of property

how the foss occurred d _ _ 1 _ loss lost
include the amount that insurance has pald. Lrst pending insurance

claims on line 33 of Scheduie A/‘B: Pmperiy.

   

hist Certain Payments or Tranofers

 

16. Within 1 year before you flied for bankruptcy, dld you or anyone else act|ng on your behalf pay or transfer any property to anyone
you consuiteti about seeking bankruptcy or preparing a bankruptcy petition?
include any attorneys, bankruptcy petition preparers. or credit counseling agenciee for services required in your bankruptcy

g No
£'.] Yas_ Fin in the donna

 

 

Deecrlptfon and vatue of any property transferred Dato payment or Amount of payment
transfer was
Peeonwnowasr-`ou _ __ made
5 §
§
Nombcr Slree% § $
§
§
D_W $…
l

city ` slate zlP code

 

Emai| or websile address

 

Perecn Wlto Maclo the Pay:nont, if Not You §

c .m ,,F.M- _ __ _ , __ _ __ .. .. _ _. _ ___.so.WW_,MMM_.W…MM_,,,MUW,¢.,,K.,W_M

 

Ornclal Form 107 Staternent of Financiaf Atfairs for individuals Filing for Banl¢ruptcy page 7

 

 

CaS€ 8-18-76198-&8'[ DOC 17 Filed 10/22/18 Entel’ed 10/22/18 18251:46

 

 

 

oencori N§S§imui Yiian ease number U,M,,, 8~18-76198~ast
rim name nude rem Lasi arm '…M_""”~-_'W-“~~
Description end value of any property transferred Dete payment or Amoi.int of

transfer was made payment

 

Peiaon Wiio Wae i¢’oicl

 

Number Slreat

 

 

Cily S£aio Z|P Codu

mail or missile address

 

 

Person Wlto Made the Paymcnt, if Not You

 

17. Within ‘l year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your oreditors?
Do not include any payment or transferthat you iisted on line 16.

w No
E] Yes_ i=iii in ina demise
Descrlptlon and value of any property transferred Date payment or Amoi.int of payment

transfer was
made

 

Ferson Who Was Peid

 

Number Sireei

 

 

$

§

§

 

city acme 21a code

18. Within 2 years before you filed for bankruptcy, did you seil, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your pioperty).
Do not include gifts and transfers that you have already listed on this statement
§ No
L] Yas_ Fiii en ina detai:s_

Desci'lption and value of property _ Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

 

Poi~son Wlio Received Trensfer

 

Nurnber Street

 

 

ciiy ` sane ziP code

 

Person’s relationship to you …W

 

Porson Who Roceived Tmnefor

 

 

ltuinber Street

 

ciiy " ` sure ziPcnrie

 

Pereon's relationship to you

Oflioiai Forin 107 Statament of Financiai Affairs for individuals Filing for Bankruptcy page 8

 

 

CaS€ 8-18-76198-&8'[ DOC 17 Filed 10/22/18 Entered 10/22/18 18251:46

Debtori Mah_mut Yi|&n § gage number wm) 8“18~76198'33t

Firsl Nemo Midd`ie Neme Lasi Nan\e

 

19.W§ti1in 10 years before you filed for bankruptcy, did you transfer any property to a se|f~settfed trust cr simiiar device of which you
are a beneficiary? (Theso are often sailed asset-protection devices.)

§ No
E;l Yes. Fii! in the details.

Deecriptiori and voice of the property transferred Date transfer
was made

Name of trust

 

 

 

 

  

§ '_ Llst Gertaln l’-‘lnancial Accounto, lnstrumenls, Sate Deposlt Boxes, and Stofage Unlt$

20, W£thin 1 year before you f¥ied for benkruptcy, were any financ|ei accounts or instruments held in your name, or for your bonefit,
closed, soid, moved, or transferred? §

include checking1 savings, money market, cr other financia! accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, end other financial institutiorz$.

MNo

il ves. rm in she duane

 

 

Lesl 4 digits of account number Type of account or Date account was Last balance before
instrument ciosed, soid, moved, closing or transfer
or transferred
Nama cf Financiai institution
XXXX- __ ij Checking $
lumber street g Sa"'"gs

m Money market

 

m Brokerage
E?_Qf,re__.__._m

 

cay sure ziP code

 

 

.. _ xxxx- _ Cl checking g
Name of F|nencia| institution
g Savings
Number street m Mor\ey market

C] Broi<eraga
m Otber

 

 

City Staie ZIP Codo

21. Do you now have, or did you have within 1 year before you filed for bankruptcy any safe deposit box cr other depository for
securities, cash, or other vaiuab!es?

ama

iii ves. Fiil in the detaus.

 

 

Who nice had accuse to it? Describe the contents Do you stlil
_ have it?
m No
Narne or Fmsm:ial mcmann mm cl yes

 

 

number elmer number street

 

 

C|fy $iafs ZiP Codo

 

 

a
i
§
§
§
§
§
§

city S\ate Z|P code

Ofi`iciai Form 107 Statement of Financia§ Affa§rs for lndividuais Fi|ing for Banknrptcy page 9

 

 

CaS€ 8-18-76198-&8'[ DOC 17 Filed 10/22/18 Entei’ed 10/22/18 18251:46

Debfor 1 Mahmut V§|an Case number irimmh§;'t 8"76..§ QB”aSt

First Nemo M!dd|e Narrie Last Nalne

22.l-tave you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
§ No
ill ves. rio m me demise

 

Who else has or had access to it? Describe the contents Do you still
,_ .l . __....... __ have 117
§
blame of Storago Fac|iity blame m yes
§
Nulnbar Strellt Ntnnber Sireet

 

 

CifyS!ato ZIP CM|B

 

 

. ..Ci__ly. .. _ __ __ scale __ glasses

   

l"art$ identify Property You !-loid or Control for Someone Etse

 

 

23. Do you hold or contro¥ any property that someone else owns? include any property you borrowed from, are storing for,
or hold in trust for someone

§ No
EZ} Yes. Fiii in the details

Where le the proporty? Descrlbo the property Value

 

Gi}mur's blame 5 $

 

Nurnbor Street

 

Nurnbdr Streat

 

 

 

city n ' state zlP calls

 

City State ZIP Code

  

j-'_F _' " lee Deta!ls About Envtronmental lnformatlon

 

For the purpose of Part10,thefo¥!owing definitions apply:

s Envlronmentai law means any federal, state, or ioce§ statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soll, surface water, groundwater, or other mediuml
incfuding statutes or regulations controlling the cleanup of these substances westes, or materiai.

c s Site means any ior:¢‘iltion,i facility, or property as defined under any environmentai |aw, whether you now own, operate, or
utilize lt or used to owrr, operate, cr utilize it, including disposal sites,

s Hazardous material means anything an environmental law defines as a hazardous woste, hazardous substance, toxic
suhstance, hazardous matcriaf, poiiutant, contaminant, or slmitar term.

z Report alt notices, releases, and proceedings that you know about, regardless of when they occurred

24. E~las any governmental unit notitled you that you may be liable or potentially i|ab|e under or in violation of an environmentai iaw?

@No

Cl Yes. riil in the details

 

 

_ Govemmental unit Envlronmentel |aw, if you know it _ E)ate of notice
E
§
Namo of site Governrnental unit §
Numher Sireet Number Street

city state zip cone

 

 

 

Clty State ZIP Corto

Oft"iciaf Form 107 Statement of Financial Affairs for individuals Fi|ing for Bankruptcy page 10

 

CaS€ 8-18-76198-&8'[ DOC 17 Filed 10/22/18 Eritered 10/22/18 18251:46

 

mbto,, Mahmut Yiian me number ("M", 8~1 8-761 98~ast

Fiist Nerno Midd!iz Name l.asi Name`

 

25_ gave you notified any governmental unit of any release of hazardous materiai?

i§liio

Ei Yes. i=iu in the aeiaiis.

 

 

 

Gove_rnmental unit Environrnentai iaw, if you know it Date of notice
Name of site Govenimentai unit §
Numi)er Street Nuinbar Stroet

 

Clty State 213d Corie

 

ciiy stare zip code
26. Have you bean a party in any judiclai or administrative proceeding under any environmental iaw? include settiemerits and orders.
al nfo

EJ ves. ran in ina detaiis.

 

 

 

 

 

 

court °*' agency Nature of the case :;::is °f the
Case title
Court alamo m Pending
a 011 appeal
Nuiniaer Street n m condude
ease number ler state zia code

  

`Pai`-t'"‘i ii lee Detalls Ahout Your Buelness or Conneotions to Any Business

 

27. thh|n 4 years before you filed for hankruptcy, did you own a business or have any of the foiiowing connections to any business?
A soie proprietor or self-employed fn a trade, profession, or other activity, either fuii~tiine or part-time
cl A member of a limited liability company (LLC) or iimited liability partnership (LLP)
in A partner in a pannersnlp
[3 An officer, director, or managing executive of a corporation

[;i An owner of at least 5% of the voting or equity securities of a corporation

i;.i No. None of the above applies Go to Par112.
51 Ves. Clneck all that apply above and fill iu the details below for each businessl
Descrlbe the nature of the business Emp|oyer identification number

Yf[an lee Cream _ Do riot include Sociai Sei:urity number or iTlN‘

Buiiinass blame

 

street vendor seiiing ice cream, not a

 

 

 

' . . E|N: ~
1346 pine Acres bivd‘ corporationi business rs W" ** '"““ “* ”“ ""_ "_`“““““
Number Streei _ ,. .,
Narne ot accountant or bookkeeper n _ Dates business existed
say chore NY 11706 mm w T° s._*.~
¢liy .. .$ia_fe_ .Zii,"?°.d°_ _ ,, ............. . ._ _ _ . . _ _ _____
Describe the nature of the business Empioyer identification number

 

Do not tnciude Social Security number or iTiN,
Biislriess blame t

EiN: =.

 

Number Stre'et -- . . .. _
Name of accountant or bookkeeper Dates business existed

 

Frorn _ 't'o

 

 

 

 

 

city state zia code

Ott`icial Form 107 Statement of Financial Affairs for individuals Fiiing for Banitruptoy page 11

 

CaS€ 8-18-76198-&8'[ DOC 17 Filed 10/22/18 Entered 10/22/18 18251:46

Debgor 1 Mahmut Yiian gass n;;mberwmm) 8*18“?6198*33{

Firsi Na;r;a M£ddis Narna last Nams

 

 

Employer ldentlflcatlon number

Doscrlbe tim nature of the business
_ Do not include Sociat Socurlly number or l'l`lN.

 

Euslnass blame

  

 

N“'“b°' St"°°" blame of accountant or bookkeeper flaws business “151°5

 

From To

 

city ` state meade

 

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? incfude all financial
institutions, creditors, or other parties.

MNQ

L:l Yes. Fill in the details bolow.

Bale lssued

 

flame wm l no 1 YWY

 

Numher 3dth

 

 

Clty State Z|P Cor£e

Stgn Bolow

 

 

i have read the answers on this Statement ofFInanci-a_l Affalrs and any attachments, and l declare under penalty of perjury that the
answers are true and correct l understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can resutt in fines up to $250,000, or imprisonment for up to 20 years, or boii’r.

13 U.S.C. §§ 152, 1341, 1519, and 3571.

x//LL(

’§Q£a(linre"’bf ci§vi§r 1

k

Slgnaluro of Debtor 2

Datrg@/,;§;QAj/' parr

Did you attach additional pages to your Statement ofFinancial‘ Affairs for Individuals Filing for Bankruptcy (Oi“!icial Form 107)?

w No
l:.l Yes

 

 

Dld you pay or agree to pay someone who ls not an attorney to help you fift out bankruptcy forms?
§ No

g Yes. Name of person _ _ . Aitach the E|ankruptcy Pe!ifion Preparer’s Notica,
Decl'aralion, and Signalure (Offlc:ial Form 119).

 

Ofliciai Form 107 Statement of Financia¥ Affairs for individuals Fiiing for Bankruptcy page 12

 

CaS€ 8-18-76198-&8'[ DOC 17 Filed 10/22/18 Entered 10/22/18 18251:46

 

owen Mahmut Yllan

rim mine upon same usi name

 

Dei)tor 2 .
(Spt>uau, §§ l`l|ln[,¢] Firel Name Midc|io Narno bail Name

 

Un'rted Stetes Bankruptcy Court iorlho; E&Slern Dislrict Of New Yori<

cas number 3-18»76198-331 @‘.l check inns is an
urknow") amended filing

 

 

Offioiel Form 108
Statement of intention for individuals Filing Under Chapter 7 wis

lf you arc an individual filing under chapter 7, you must fill out this form if:
l creditors have claims secured by your property, or
l you have leased personal property and the lease has not expired

You must tile this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever ls earlier, unless the court extends the tlme for cause, ‘{ou must also send copies to the creditors and lessors you list on the form.

 

 

if two married people are filing together in a joint ceso, both are equally responsible for supplying correct informationl
80th debtors must sign end date the form.

Bo as complete and accurate ns possible if more space is needed, attach a separate sheet to this form On the top of any additional pages,
write your name and case number (lf known).

 
 

` Fa"rt_.` Llsl: \'our Creditors Who Have Socured Glairns

 

1, For any creditors that you listed ln Part 1 of Schedu!e D: Creo'itors Who Have Claims Secured by Froperty {Official Ferm 10633}, fill in the
information velow.

 

 

identify the creditor end the property that is collateral What do you intend to do with the property that bid you claim the property
secures a debt? as exempted Sched_ule C‘?
C'edilo"$ ' [3 Surronder the ro crt . l:l No
name: B_&_mk of Amerlca _ _ _ § R t th p ni; yd d f g
_ _......... _.......... gain e me an reeemi_ y
Descr;prwn m 1346 Pme Acres s;vd, eayshore, NY 11ch p p 85
property C] Retaln the property and enter into a
securing debt: Reaflirmatlon Agreemenf.
m Retain the property and [explain]:
modification
Cfediim'$ g Surrender the property, l:l No
name? .. .. _ . _ . . .
' ` ` ` ` m Reia:n the property and redeem ll. i;i Yes
' ` f
E;;(;:§:mn n l:l Retaln the property and enter into a

securing debt Reef!r"rmatlon Agroement.
13 Retaio the property and [exp|a§n}:

 

 

 

 

C*'edi[_°')$ i;l Surrendortho property i;l No
name:` . ` " ` ` ` " " ` ` " " m Reialn the property and redeem lt. g Y@S
Er:;(:;?;mn cf [:i Retain tho_property and enter into a
securing debt Reef#nnatron Agrooment.

l:} Rctain the property and [exp|ain]:
Cr@d§t'°"'$ E] Surrender the property ill No
pam`e:"`_" ` ` ` ` ' " ` ` ' ' ' " " i:i Ftotoin the property end redeem it. §Yes
E;;C;Y;|Gn of l:i Rofain the‘property end enter into a
securing debt Reafi'irmatron Agroement.

a Rctain the property and [explain]:

 

 

 

Olficisl Forrn 108 Statement of intention for individuals Filing Urlder Chaptor 7 page 1

 

CaS€ 8-18-76198-&8'[ DOC 17 Filed 10/22/18 Entered 10/22/18 18251:46

named Mahmut Yi{an Case number {#knawn)8”18"76198“_35t

Firsl Nsme Midr.ilo Neme l.esl Nema

 

 

List Your Une)rpired Personat Property Leases

 

 

 

 

 

 

 

 

 

For any unexpired personai property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Officlel i=orm 1066),
fill in the information below. Do not list real estate leases. Unexpr‘red leases ore leases that are still in effect; the lease period has not yet
endoci. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p){2).
Descrlbe your unexpired personal property leases n W|i| the lease be assumed? n
Lessor’s name: ft NO
Descriptlon of leased as
property.'
Lessor‘s neme: g NO
Description of leased m YES
property:
Lessor’s name: E] No
Bescrlplion of leased i:] \’es
property:
Lesscr’s name: - [] No
UYGS
Descripiion of leased
property:
l_essor‘s hame: , § No
4 . . . _ .. . _ a yes
Descriplion of leased
property:
i.essor”s neme: 113 No
. . cl Yes
Descnptlon of leased
properly:
Lessor’s neme: [3 NO
4_ . .. __ .. .. .. gives
bescnpl:en of leased
properly:

 

 

 

Slgn Below

 

 

tinder penalty of perjury, l declare that i have indicated my intention about any property of my estate that secures a debt and any
personai property that is subject to an unexpired lssse.

X

 

 

Signature of [}eblor 2

Dato
MMI Di)l YYY‘(

 

OFiicial Form 108 Statement of intention for lndiviciuais Fiiing Under Chapter 7 page 2

CaS€ 8-18-76198-&8'[ DOC 17 Filed 10/22/18 Entered 10/22/18 18251:46

 
   
 

`_ _r=i_i_i"inthlsinformationcoldemuy ypqrcés_e:ff__ ' " ¢t,'é'¢§,k got h'°`x_`o

res tracts `

     

n_ly as directed in_ti_ris form and-in `

  

       

nestor 1 Nlah!“¥ll.lt __ _ Yiian
Ficst Narne Middla Narno Lost Namd

   

 

   
          
    

M l. ’i"here is no presumption of abuse.

   

 
 

Debtor 2
(SpoLlSS, if t`lling) stt Name Middio blame Last Narno

 

   

ill 2. The calculation to determine if a presumption of
abuse appties witl be made under Chapfsr 7
Means Test Calculalion (Otliciai Form 122A-2).

        

Unitsd Stales Bankruptcy Coort for ihe: Eastero District of New York
Case number 8“18“76198'35t

(lt known)

 
 

    

 

a 3. Tt\e Means `l’est does not apply now because oi‘
qualified military service but it could apply later.

 
      

 

 

E?] check ir this is an amended filing

Offtcial Forrn 122/\-1

 

chapter 7 Statement of Your Current Monthly income rzns

Be as complete and accurate as possible'. if two married people are filing together, both are equally responsible for being acourate. lf more
space ls needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). if you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because ot qualifying military service, complete and tile Ststement ofExemption from Presumption of
Abuse Under § 707(!)){2) (Oi'ficlal Form ‘iZZA-‘tSupp) with this torm.

 

Calcu|ate Your Current Monthiy income

 

 

1. What is your marital and filing status? Cheok one only.
[;] Not married. Fi|l out Colurnn A, lines 2~11.
g Married and your spouse is filing with you. Fi|| out both Colurnns A and B, lines 2~11.

m Married and your spouse ls NO'i' filing with you. You and your spouse are:
9 living in the same household and are not legally separated Ft|| out both Colurnns A and B, lines 2-11,

m i_[v|ng separately or are legally separated Fi|l out Coiurnn A, lines 2~11; do not i"r|| out Column B. By checking this bo)<, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test recniirementsl 11 U.S.C` § TOT(b)(Y)(B).

Fi|l_t_n the average monthly income that you received from all sources, derived during the 6 futE months before you file this
bankruptcy oase. ii U.S.C_ § 101(1OA). For example if you are filing on Seplcrr\t)er 15, the tiernonth period would be Marcn 1 through
August 31. ll the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.

' .Fi§l in the result [30 not include any income amount more than onoe. For exampie, if both spouses own the same rental property, put the
income from that property in one column oniy` if you have nothing to report for any iine, write 30 in the space

Column A Coiumn B
Del)tor 1 Bsbtor 2 or
non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions

 

 

(l)elore all payroll deductions). $__LZ_MO $
3. Alimony and maintenance payments Do not include payments from a spouse if 0

column s ss fined :n. $ 3
4, All amounts from any source which are regularly paid for household expenses

ot you or your dependents, including child support include regular contributions

from an unmarried partnor. members of your househo|d, your dependentsr parents.

and roommates. lnclude regular contributions from a spouse only if Column B is not 0

titled in. 00 not include payments you listed on line 3. $ $
5. Net income from operating a business, profession, hamm 1 Debtorz

or farm

Gross receipts (before all deductions) $ . $W

Ordinary and necessary operating expenses »=~ $ - $ _

Net monthly income from a business, profession or farm $ U.OO $ H E:rlg,) $__ U.OO $ _
6. Nst income from rental and other real property Bebtor 1 Debtor 2

Gross receipts (beforo all deductions) $

Ordinary and necessary operating expenses -- $ ~ $

Net monthly income from rental or other real property $ {},O(} $ §::5.',} 5 0,00 $
7. tnterest, dividends, and royalties $ 0.00

 

 

 

Oll`mioi Form 122A-‘l Chapter ‘I Statement of Your Current Monthty income page t

CaS€ 8-18-76198-&8'[ DOC 17 Filed 10/22/18 Entered 10/22/18 18251:46

 

 

Dei)tort _N|Eitht YilBi'i Case number rrrk»owm 8c.'iB"?B'}§')€"aSt
Firs: Nasto Mtddzu Name Laat Namo
Column A Column B
Bebtor 1 Debtar 2 or

non-filing spouse

8. Unernp|oyrnent compensation $ 0.00 $

 

Do not enter the amount if you contend that the amount received was a benefit
under the Social Security Act. tnsiead, list it here:

$

Foryourspouse.....`.........................,,.....,...........,........l........ $

For you

 

9. Pension or retirement income. Dc not inciutle any amount received that was a
benefit under the Sociat Security Act. $ 0»00 $

10. income from att other sources not tisted above. Specify the source and amount
Do not include any benefits received under the Social Seourity Act or payments received
as a victim of a war crime, a crime against humani£y. or international or domestic
terrorism. if necessaryl list other sources on a separate page and put the totai bciovv.

$M~QQO $,MM
$ _ G.OD $
Total amounts from separate pages, it any. + 5 0.00 + 3

 

 

 

0.00 is $ 1,700.00

‘t‘l. Calculate your total current monthly income Add lines 2 through 10 for each +
column. Then odd the total for Column A to the total for Column B. $ 1,7(}0.00j

 

 

 

 

 

 

 

Total current
monthly income

Determine Whe\her the Nieans Tesf Appiies to You

 

 

12.Calcuieta your current monthly income for the yeah Foilow these steps:

 

12a Copyycurtota| currentmonthlyincome from fine 11. Copytlne 11 here') l_ $ 1 YO0.00 q
N|ultipiy by 12 (the number of months in a year)‘ X 12
1211 The result is your annual income for this part of the form 1211 [“ $BAQQ&D j

13. Catcuiate the median family income that applies to your Fotlow these steps:

 

Fi|l in the state in which you live.

 

 

Fitl in the number of people in your household 3 j

 

Fi|i in the median family income for your state and size of householdl 13. $_______§Q§io

'l"o find a iist of applicable median income amounts go online using the link specified in the separate
instmctions for this form. This fist may aiso be evaiteble et the bankruptcy clerk‘s office

 

 

 

14. How do the ¥Enes compare?

14a § Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse
Go to Pari 3.

14b. 13 Line izb is more than line 13. On the top of page 1, check box 2. Tho presumption of abuse is determined by Forrn 122A-2.
Go to Part 3 and tilt out Forrn 122A~2.

 

 

 

 

Stgn Below
By aigning here, l deel e unde%y of perjury that the information on this statement and in any attachments is true end correct.
x %Z;:/( uf »/--¢ x '
Signature of Dobtor 1 Signature of Debtcr 2
Date f 4 Date m
M D MMI DD )'YYYV

if you checked line 14a, do NOT Nll out or tile Form 122A~2.
if you checked line idb, r”l|i out Form 122A~»2 and fite it with this form

 

 

 

OEiiciai Fonn 122A-1 Chapter? Staternent of Your Current Mon!hiy income page 2

 

